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an application shall be fied by the Account Part for the approval of any other superpriority
administrative claim or lien in the Bankptcy Case which is pari passu with or senior to the claims or
liens of the Agent and/or any Letter of Credit Issuer against the Account Part under this Agreement, or
there shall arise any such pari passu or senior superpriority administrative claim or lien;

                      (1) the Account Part shall propose a confirmation order for the Account Part's
plan of reorganization currently pending in the Bankptcy Case, or an order by the Bankptcy Court
shall be entcrcd confirming the Account Part's plan of reorganization currently pending in the
Bankptcy Case, or the Account Part shall propose another plan of reorganization in the Bankptcy
Case which, in any of the above cases, does not include a provision for termnation of the Commitment
and indefeasible payment in full in cash of all LlC Obligations of the Account Part hereunder and under
the other Letter of Credit Documents (including the cancellation and return of all Letters of Credit and/or
maintenance of cash collateral in the LlC Cash Collateral Account with respect to such Letters of Credit
in an amount equal to the aggregate undrawn amount of such Letters of Credit) on or before the effective
date of such plan of reorganization;

                       (m) an order by the Bankptcy Court shall be entered, or the Account Part shall fie
an application for an order, dismissing the Bankrptcy Case which does not require a provision for
termination of the Commitments and indefeasible payment in full in cash of all Obligations of the
Account Part hereunder and under the other Letter of Credit Documents (including the cancellation and
return of all Letters of Credit and/or maintenance of cash collateral in the LlC Cash Collateral Account
with respect to such Letters of Credit in an amount equal to the aggregate undrawn amount of such Letters
of Credit) prior to any such dismissal;

                       (n) an order by the Bankrptcy Court shall be entered in or with respect to the
Bankrptcy Case or the Account Part shall file an application for an order with respect to the Bankrptcy
 Case (i) to revoke, reverse, stay, rescind, modify, vacate, supplement or amend the Facilty Order or (ii) to
 permit any material administrative expense or any material claim (now existing or hereafter arising, of
 any kind or nature whatsoever) to have an administrative priority as to the Account Part equal or
 superior to the priority of the claims of the Agent and the Letter of Credit Issuers in respect of the
 Obligations;

                        (0) an application for any of the orders described in any or all of clauses (i, il, il,
 or (m) above shall be made by a Person other than the Account Part and such application is not contested
 by the applicable Account Part in good faith and the relief requested is granted in an order that is not
 vacated, reversed, rescinded or stayed pending appeal; or

                        (P) (i) from and after the date of entr thereof, the Facility Order shall cease to be in
 full force and effect, or (ii) the Account Part shall fail to comply with the terms of the Facility Order in
 any material respect, or (iii) the Facility Order shall be amended, supplemented, stayed, reversed, vacated
 or otherwise modified (or the Account Part shall apply for authority to do so); or

                         (q) The Bankptcy Court shall enter an order appointing a trstee in the Case or
 appointing a responsible officer or an examiner with powers beyond the duty to investigate and report, as
 set forth in section 1106(a)(3) and (4) of
                                                the Bankptcy Code, in the Bankptcy Case.

             9.2 Remedies.

                         (a) If a Default or an Event of Default exists, the Agent may, in its discretion, and
  shall, at the direction of the Majority Letter of Credit Issuers, without further order of or application to the
  Bankrptcy Court as permitted by the Facility Order, do one or more of
                                                                              the following at any time or times


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and in any order, without notice to or demand on the Account Part restrct or refuse to provide Letters of
Credit. If an Event of Default exists, the Agent shall, at the direction of the Majority Letter of Credit
Issuers, do one or more of the following, in addition to the actions described in the preceding sentence, at
any time or times and in any order, without notice to or demand on the Account Part: (A) termnate the
Commitments and this Agreement; (B) declare any or all Obligations to be immediately due and payable;
provided, however, that upon the occurrence of any Event of Default described in Sections 9.
                                                                                                                        Hm),   ÚÙ,
ÍQ, Úll fg, (§, or il, the Commitments shall automatically and immediately expire and all Obligations
shall automatically become immediately due and payable without notice or demand of any kind; and (C)
pursue its other rights and remedies under the Letter of                         Credit Documents and applicable law.

                        (b) If an Event of Default has occurred and is continuing, the Agent may, subject to
Section 3.3(b) and any notice requirements set forth in the Facility Order, at any time, apply all amounts
on deposit in the Cash Collateral Accounts to the satisfaction of the Obligations then outstanding. The
Agent wil return any excess to the Account Part and the Account Part shall remain liable for any
deficiency.

                        (c) If an Event of Default occurs, the Account Part hereby waives all rights to
notice and hearing prior to the exercise by the Agent of the Agent's rights to apply amounts on deposit in
the Cash Collateral Accounts without judicial process.

               (d) If an Event of Default has occurred and is continuing, subject only to any notice
requirements set forth in the Facilty Order, all stays and injunctions, including the automatic stay
pursuant to Bankruptcy Code section 362, shall be vacated and terminated to the extent necessary to
permit the Agent and the Letter of Credit Issuers full exercise of all of their rights and remedies under all
applicable bankptcy and non-bankruptcy law.

                                                                    ARTICLE 10

                                                        TERM AND TERMINATION

             10.1 Term and Termination. The term of       this Agreement shall end on the Stated Termination
 Date unless sooner terminated in accordance with the term hereof. The Agent, upon direction from the
 Majority Letter of Credit Issuers, may terminate this Agreement without notice upon the occurrence of an
 Event of Default. Upon the effective date of termination of     this Agreement for any reason whatsoever, all
 Obligations (including all unpaid principal, accrued and unpaid interest and any early termination or
 prepayment fees or penalties, but excluding not yet asserted indemnification obligations) shall become
 immediately due and payable and the Account Part shall immediately arrange for the cancellation and
 return of Letters of Credit then outstanding (or maintenance of cash collateral in the Cash Collateral
 Account with respect to such Letters of Credit in an amount equal to the aggregate undrawn amount of
 such Letters of Credit). Notwithstanding the termination of this Agreement, until all Obligations are
 indefeasibly paid and performed in full in cash, the Account Part shall remain bound by the terms of this
 Agreement and shall not be relieved of any of its Obligations hereunder or under any other Letter of
 Credit Document, and the Agent and the Letter of Credit Issuers shall retain all their rights and remedies
 hereunder.

                                                                     ARTICLE 11

                               AMENDMENTS: WAIVERS: ASSIGNMENTS: SUCCESSORS

              11.1 Amendments and Waivers.



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                        (a) No amendment or waiver of any provision of this Agreement or any other Letter
of Credit Document, and no consent with respect to any departe by the Account Par therefrom, shall
be effective unless the same shall be in writing and signed by the Majority Letter of Credit Issuers (or by
the Agent at the wrtten request of the Majority Letter of Credit Issuers) and the Account Part (or the
Account Part) and then any such waiver or consent shall be effective only in the specific instance and for
the specific purpose for which given; provided, however, that no such waiver, amendment, or consent
shall, unless in writing and signed by all the Letter of Credit Issuers and the Account Part (or the
Account Part) and acknowledged by the Agent, do any ofthe following:

                                   (i) increase or extend the Commitment of any Letter of Credit Issuer;


                                    (ii) postpone or delay any date fixed by this Agreement or any other Letter
           of Credit Document for any payment of interest, fees or other amounts due to the Letter of Credit
           Issuers (or any of them) hereunder or under any other Letter of Credit Document;

                                    (iii) reduce the principal of, or the rate of interest specified herein on any
           Obligation, or any fees or other amounts payable hereunder or under any other Letter of Credit
           Document;

                                    (iv) change the percentage of the Commitments or of the aggregate
                                                                                                 them unpaid
                                                                                                      to take
                                                                                                        Credit Issuers or any of
            amount of       the Obligations which is required for the Letter of

            any action hereunder;

                                     (v) amend this Section or any provision of this Agreement providing for
            consent or other action by all Letter of Credit Issuers;
                                                                                       "Majority Letter of         Credit Issuers"; or
                                     (vi) change the definition of



                                     (vii) increase the Total Facilty;


 provided, however, that no amendment, waiver or consent shall, unless in writing and signed by the
  Agent, affect the rights or duties of the Agent under this Agreement or any other Letter of Credit
  Document; provided, further, that Schedule 1.1 hereto (Commitments) may be amended from time to time
  by the Agent alone to reflect assignments of Commitments in accordance herewith.

                          (b) If any fees are paid to the Letter of Credit Issuers as consideration for
  amendments, waivers or consents with respect to this Agreement, at Agent's election, such fees may be
  paid only to those Letter of Credit Issuers that agree to such amendments, waivers or consents within the
  time specified for submission thereof.

              11.2 Assignments.

                 (a) Any Letter of Credit issuer may, with the written consent of the Agent (which
  consents shall notbe unreasonably withheld or ddayed), assign and delegate to one or more Eligihle
   Assignees (provided that no consent of the Agent or the Account Part shall be required in connection
   with any assignment and delegation by a Letter of Credit Issuer to an Affliate of such Letter of Credit
   Issuer) (each an "Assignee") all, or any ratable part of all of the Commitments and the other
                                                                                $5,000,000       rightsthat,
                                                                                            (provided   and
                         such Letter of       Credit Issuer hereunder, in a minimum amount of
   obligations of

   unless an assignor Letter of Credit Issuer has assigned and delegated all of its Commitments, no such
   assignment and/or delegation shall be permitted unless, after giving effect thereto, such assignor Letter of
   Credit Issuer retains a Commitment in a minimum amount of $5,000,000); provided, however, that the

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Account Part and the Agent may continue to deal solely and directly with such Letter of Credit Issuer in
connection with the interest so assigned to an Assignee until (i) wrtten notice of such assignment,
together with payment instructions, addresses and related information with respect to the Assignee, shall
have been given to the Account Part and the Agent by such Letter of Credit Issuer and the Assignee;
(ii) such Letter of Credit Issuer and its Assignee shall have delivered to the Account Part and the Agent
an Assignment and Acceptance in the form of Exhibit B ("Assignment and Acceptance") duly executed
by such Letter of Credit Issuer and its Assignee, and such Assignent and Acceptace shall have been
acknowledged by the Agent; and (iii) the assignor Letter of Credit Issuer or Assignee has paid to the
Agent a processing fee in the amount of $3,500. The Account Par agree to promptly execute and
deliver new promissory notes and replacement promissory notes as reasonably requested by the Agent to
evidence assignments of the Commitments in accordance herewith.

                       (b) From and after the date that the Agent notifies the assignor Letter of Credit Issuer
that it has received an executed Assignment and Acceptance and payment of the above-referenced
processing fee, (i) the Assignee thereunder shall be a part hereto and, to the extent that rights and
obligations shall have the rights and obligations of a Letter of Credit Issuer under the Letter of Credit
Documents, and (ii) the assignor Letter of Credit Issuer shall, to the extent that rights and obligations
hereunder and under the other Letter of Credit Documents have been assigned by it pursuant to such
Assignment and Acceptance, relinquish its rights and be released from its obligations under this
Agreement (and in the case of an Assignment and Acceptance covering all or the remaining portion of an
assigning Letter of Credit Issuer's rights and obligations under this Agreement, such Letter of Credit
Issuer shall cease to be a part hereto).

                        (c) By executing and delivering an Assignment and Acceptance, the assigning Letter
of Credit Issuer thereunder and the Assignee thereunder confirm to and agree with each other and the
other parties hereto as follows: (i) other than as provided in such Assignment and Acceptance, such
assigning Letter of Credit Issuer makes no representation or warranty and assumes no responsibility with
respect to any statements, warranties or representations made in or in connection with this Agreement or
the execution, legality, validity, enforceability, genuineness, sufficiency or
                                                                                               value of   this Agreement or any
 other Letter of Credit Document furnished pursuant hereto; (ii) such assigning Letter of Credit Issuer
 makes no representation or warranty and assumes no responsibility with respect to the financial condition
 of the Account Part or the performance or observance by the Account Part of any of its obligations
 under this Agreement or any other Letter of Credit Document furnished pursuant hereto; (iii) such
 Assignee confirms that it has received a copy of this Agreement, together with such other documents and
 information as it has deemed appropriate to make its own credit analysis and decision to enter into such
 Assignment and Acceptance; (iv) such Assignee wil, independently and without reliance upon the Agent,
 such assigning Letter of Credit Issuer or any other Letter of Credit Issuer, and based on such documents
 and information as it shall deem appropriate at the time, continue to make its own credit decisions in
 taking or not taking action under this Agreement; (v) such Assignee appoints and authorizes the Agent to
 take such action as agent on its behalf and to exercise such powers under this Agreement as are delegated
 to the Agent by the terms hereof, together with such powers, including the discretionary rights and
 incidental power, as are reasonably incidental thereto; and (vi) such Assignee agrees that it wil perform
 in accordance with their terms all of the obligations which by the terms of this Agreement are required to
 be performed by it as a Letter of Credit Issuer.

                         (d) Immediately upon satisfaction of the requirements of Section 11.2(a), this
 Agreement shall be deemed to be amended to the extent, but only to the extent, necessary to reflect the
 addition of the Assignee and the resulting adjustment of the Commitments arising therefrom. The.
 Commitment allocated to each Assignee shall reduce such Commitments of the assigning Letter of Credit
 Issuer pro tanto.


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                      (e) Notwithstanding any other provision in this Agreement, any Letter of Credit
Issuer may at any time create a security interest in, or pledge, all or any portion of its rights under and
interest in this Agreement in favor of any Federal Reserve Ban in accordance with Regulation A of the
FRB or U.S. Treasury Regulation 31 CFR §203.l4, and such Federal Reserve Bank may enforce such
pledge or security interest in any manner permtted under applicable law.

                                                                     ARTICLE 12

                                                                     THE AGENT

           12.1 Appointment                and Authorization. Each Letter of
                                                                                            Credit Issuer hereby designates and
appoints Bank as its Agent under this Agreement and the other Letter of Credit Documents, and each
Letter of Credit Issuer hereby irrevocably authorizes the Agent to take such action on its behalf under the
provisions of this Agreement and each other Letter of Credit Document and to exercise such powers and
perform such duties as are expressly delegated to it by the terms of this Agreement or any other Letter of
Credit Document, together with such powers as are reasonably incidental thereto.this
                                                                                   TheArticle
                                                                                       Agent 12
                                                                                              agrees  to act
                                                                                                  are solely
as such on the express conditions contained in this Article 12. The provisions of

for the benefit of the Agent and the Letter of Credit Issuers and none of the Account Part shall have any
rights as a third part beneficiary of any of the provisions contained herein. Notwithstanding any
provision to the contrary contained elsewhere in this Agreement or in any other Letter of Credit
 Document, the Agent shall not have any duties or responsibilities, except those expressly set forth herein,
 nor shall the Agent have or be deemed to have any fiduciary relationship with any Letter of Credit Issuer,
 and no implied covenants, functions, responsibilties, duties, obligations or liabilities shall be read into
 this Agreement or any other Letter of Credit Document or otherwise exist against the Agent. Without
 limiting the generality of the foregoing sentence, the use of the term "agent" in this Agreement with
 reference to the Agent is not intended to connote any fiduciary or other implied (or express) obligations
 arising under agency doctrne of any applicable law. Instead, such term is used merely as a matter of
 market custom, and is intended to create or reflect only an administrative relationship between
 independent contracting parties. Except as expressly otherwise provided in this Agreement, the Agent
 shall have and may use its sole discretion with respect to exercising or refraining from exercising any
 discretionary rights or taking or refraining from taking any actions which the Agent is expressly entitled
 to take or assert under this Agreement and the other Letter of Credit Documents, including the exercise of
 remedies pursuant to Section 9.2, and any action so taken or not taken shall be deemed consented to by
 the Letter of Credit Issuers.
                                                 Duties. The Agent may execute any of
                                                                                                  its duties under this Agreement or
             12.2 Delegation of

  any other Letter of Credit Document by or through agents, employees or attorneys-in-fact and shall be
  entitled to advice of counsel concerning all matters pertaining to such duties. The Agent shall not be
  responsible for the negligence or misconduct of any agent or attorney-in-fact that it selects as long as such
  selection was made without gross negligence or wilful misconduct.

              12.3 Liability of Agent. None of
                                                                      the Agent-Related Persons shall (i) be liable for any action
  taken or omitted to be taken by any uf them undcr or in connection with this Aereement or any other
  Letter of Credit Document or the transactions contemplated hereby (except for its own gross negligence
  or wilful misconduct), or (ii) be responsible in any manner to any of the Letter of Credit Issuers for any
  recital, statement, representation or warranty made by the Account Part or any Other Subsidiary or
  Affliate of the Account Part, or any offcer thereof, contained in this Agreement or in any other Letter
  of Credit Document, or in any certificate, report, statement or other document referred to or provided for
  in, or received by the Agent under or in connection with, this Agreement or any other Letter of Credit
  Document, or the validity, effectiveness, genuineness, enforceability or suffciency of this Agreement or
  any other Letter of Credit Document, or for any failure of the Account Par or any other part to any

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Letter of Credit Document to perform its obligations hereunder or thereunder. No Agent-Related Person
shall be under any obligation to any Letter of Credit Issuer to ascertin or to inquire as to the observance
or performance of any of the agreements contained in, or conditions of, this Agreement or any other
Letter of Credit Document, or to inspect the properties, books or records of the Account Part or any
Other Subsidiaries or Affiliates.

           12.4 Reliance by Agent. The Agent shall be entitled to rely, and shall be fully protected in
relying, upon any wrting, resolution, notice, consent, certificate, affdavit, letter, telegram, facsimile,
telex or telephone message, statement or other document or conversation believed by it to be genuine and
correct and to have been signed, sent or made by the proper Person or Persons, and upon advice and
statements of legal counsel (including counsel to the Account Part), independent accountants and other
experts selected by the Agent. The Agent shall be fully justified in failng or refusing to take any action
under this Agreement or any other Letter of Credit Document unless it shall first receive such advice or
concurrence of the Majority Letter of Credit Issuers as it deems appropriate and, if it so requests, it shall
first be indemnified to its satisfaction by the Letter of Credit Issuers against any and all liabilty and
expense which may be incurred by it by reason of taking or continuing to take any such action. The
Agent shall in all cases be fully protected in acting, or in refraining from acting, under this Agreement or
any other Letter of Credit Document in accordance with a request or consent of the Majority Letter of
Credit Issuers (or all Letter of Credit Issuers if so required by Section 11.1) and such request and any
action taken or failure to act pursuant thereto shall be binding upon all of the Letter of Credit Issuers.

                                     Default.        The Agent shall not be deemed to have knowledge or notice of
                                                                                                                                   the
            12.5 Notice of

 occurrence of any Default or Event of Default, unless the Agent shall have received written notice from a
 Letter of Credit Issuer or the Account Part referring to this Agreement, describing such Default or Event
 of Default and stating that such notice is a "notice of default." The Agent wil notify the Letter of Credit
 Issuers of its receipt of any such notice. The Agent shall take such action with respect to such Default or
 Event of Default as may be requested by the Majority Letter of Credit Issuers in accordance with Section
 2.; provided, however, that unless and until the Agent has received any such request, the Agent may (but
 shall not be obligated to) take such action, or refrain from taking such action, with respect to such Default
 or Event of  Default as it shall deem advisable.
                                                                        Credit Issuer acknowledges that none of
                                                                                                                            the
            12.6 Credit Decision. Each Letter of

 Agent-Related Persons has made any representation or warranty to it, and that no act by the Agent
 hereinafter taken, including any review of the affairs of the Account Part and its Affiiates, shall be
 deemed to constitute any representation or warranty by any Agent-Related Person to any Letter of Credit
 Issuer. Each Letter of Credit Issuer represents to the Agent that it has, independently and without reliance
 upon any Agent~Related Person and based on such documents and information as it has deemed
 appropriate, made its own appraisal of and investigation into the business, prospects, operations, propert,
 financial and other condition and creditworthiness of the Account Part and its Affliates, and all
 applicable bank regulatory laws relating to the transactions contemplated hereby, and made its own
 decision to enter into this Agreement and to extend credit to the Account Part. Each Letter of Credit
  Issuer also represents that it wil, independently and without reliance upon any Agent-Related Person and
  based on such documents and information as it shall deem appropriate at the time, continue to make its
  own credit analysis, appraisals and decisions in taking or not taking action under this Agreement and the
  other Letter of Credit Documents, and to make such investigations as it deems necessary to inform itself
  as to the business, prospects, operations, propert, financial and other condition and creditworthiness of
  Account Part. Except for notices, reports and other documents expressly herein required to be furnished
  to the Letter of Credit Issuers by the Agent, the Agent shall not have any duty or responsibility to provide
  any Letter of Credit Issuer with any credit or other information concerning the business, prospects,
  operations, propert, financial and other condition or creditworthiness of the Account Part which may
  come into the possession of               any of    the Agent-Related Persons.

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             12.7 Indemnification. Whether or not the transactions contemplated hereby are consummated,
the Letter of Credit Issuers shall indemnify upon demand the Agent-Related Persons (to the extent not
reimbursed by or on behalf of the Account Part and without limiting the obligation of the Account Part
to do so), in accordance with their Pro Rata Shares, from and against any and all Indemnified Liabilities
as such term is defined in Section 13.11; provided, however, that no Letter of Credit Issuer shall be liable
for the payment to the Agent-Related Persons of any portion of such Indemnified Liabilties resulting
solely from such Person's gross negligence or wilful misconduct. Without limitation of the foregoing,
each Letter of Credit Issuer shall reimburse the Agent upon demand for its Pro Rata Share of any costs or
out-of-pocket expenses (including Attorney Costs) incurred by the Agent in connection with the
preparation, execution, delivery, administration, modification, amendment or enforcement (whether
through negotiations, legal proceedings or otherwise) of, or legal advice in respect of rights or
responsibilities under, this Agreement, any other Letter of Credit Document, or any document
contemplated by or referred to herein, to the extent that the Agent is not reimbursed for such expenses by
or on behalf of the Account Part. The undertaking in this Section shall survive the payment of all
Obligations hereunder and the resignation or replacement of
                                                              the Agent.

             12.8 Agent in Individual Capacity. The Bank and its Affliates may make loans to, issue
letters of credit for the account of, accept deposits from, acquire equity interests in and generally engage
in any kind of banking, trst, financial advisory, underwiting or other business with the Account Part
and its Subsidiaries and Affiliates as though the Bank were not the Agent hereunder and without notice to
or consent of the Letter of Credit Issuers. The Bank or its Affiiates may receive information regarding
the Account Part and its Affliates (including information that may be subject to confidentiality
obligations in favor of such Account Part or such Subsidiary) and acknowledge that the Agent and the
Bank shall be under no obligation to provide such information to them.

             12.9 Successor Agent. The Agent may resign as Agent upon at least thirt (30) days' prior
 notice to the Letter of Credit Issuers and the Account Part, such resignation to be effective upon the
 acceptance of a successor agent to its appointment as Agent. In the event the Bank sells all of its
 Commitment as part of a sale, transfer or other disposition by the Bank of substantially all of its letter of
 credit portfolio, the Bank shall resign as Agent and such purchaser or transferee shall become the
 successor Agent hereunder. Subject to the foregoing, if the Agent resigns under this Agreement, the
 Majority Letter of Credit Issuers shall appoint from among the Letter of Credit Issuers a successor agent
 for the Letter of Credit Issuers. If no successor agent is appointed prior to the effective date of the
 resignation of the Agent, the Agent may appoint, after consulting with the Letter of Credit Issuers and the
 Account Part, a successor agent from among the Letter of Credit Issuers. Upon the acceptance of its
 appointment as successor agent hereunder, such successor agent shall succeed to all the rights, powers
 and duties of the retiring Agent and the term "Agent" shall mean such successor agent and the retiring
 Agent's appointment, powers and duties as Agent shall be terminated. After any retiring Agent's
 resignation hereunder as Agent, the provisions of
                                                    this Article 12 shall continue to inure to its benefit as to
 any actions taken or omitted to be taken by it while it was Agent under this Agreement.

              12.10 Withholding Tax.


                         (a) If any Letter of Credit Issuer claims exemption from, or reduction of,
 withholding tax under a United States of America ta treaty by providing IRS Form W-8BEN and such
 Letter of Credit Issuer sells, assigns, or otherwise transfers all or part of the Obligations owing to such
               Credit Issuer, such Letter of   Credit Issuer agrees to notify the Agent of
                                                                                               the percentage amount in
 Letter of

 which it is no longer the beneficial owner of Obligations of the Account Part to such Letter of Credit
  Issuer. To the extent of such percentage amount, the Agent wil treat such Letter of Credit Issuer's IRS
  Form W-8BEN as no longer valid.


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                       (b) If any Letter of Credit Issuer claiming exemption from United States of America
withholding tax by fiing IRS Form W -8ECI with the Agent sells, assigns, or otherwise transfers all or
part of the Obligations owing to such Letter of Credit Issuer, such Letter of Credit Issuer agrees to
undertake sole responsibility for complying with the withholding ta requirements imposed by Sections
1441 and 1442 of          the Code.

                       (c) If any Letter of Credit Issuer is entitled to a reduction in the applicable
withholding tax, the Agent may withhold from any interest payment to such Letter of Credit the
                                                                                           Issuer an
                                                                                               forms
amount equivalent to the applicable withholding tax after taking into account such reduction. If

or other documentation required by Section 4.l(a) are not delivered to the Agent, then the Agent may
withhold from any interest payment to such Letter of Credit Issuer not providing such forms or other
documentation an amount equivalent to the applicable withholding tax.

                        (d) If the IRS or any other Governmental Authority of the United States of America
or other jurisdiction asserts a claim that the Agent did not properly withhold tax from amounts paid to or
for the account of any Letter of Credit Issuer (because the appropriate form was not delivered, was not
properly executed, or because such Letter of Credit Issuer failed to notify the Agent of a change in
circumstances which rendered the exemption from, or reduction of, withholding tax ineffective, or for any
other reason) such Letter of Credit Issuer shall indemnify the Agent fully for all amounts paid, directly or
indirectly, by the Agent as tax or otherwise, including penalties and interest, and including any taxes
imposed by any jurisdiction on the amounts payable to the Agent under this Section, together with all
costs and expenses (including Attorney Costs). The obligation of the Letter of Credit Issuers under this
 subsection shall survive the payment of all Obligations and the resignation or replacement of the Agent.

             12.11 Restrictions on Actions by Letter of Credit Issuers: Sharing of Payments.

                         (a) Each of the Letter of Credit Issuers agrees that it shall not, without the express
 consent of all Letter of Credit Issuers, and that it shall, to the extent it is lawfully entitled to do so, upon
 the request of all Letter of Credit Issuers, set off against the Obligations, any amounts owing by such
 Letter of Credit Issuer to the Account Part or any accounts of the Account Part now or hereafter
 maintained with such Letter of Credit Issuer. Each of the Letter of Credit Issuers further agrees that it
 shall not, unless specifically requested to do so by the Agent, take or cause to be taken any action to
 enforce its rights under this Agreement or against the Account Part.

                          (b) If at any time or times any Letter of Credit Issuer shall receive (i) by payment,
  foreclosure, setoff or otherwise, any proceeds of Collateral or any payments with respect to the
  Obligations of the Account Part to such Letter of Credit Issuer arising under, or relating to, this
  Agreement or the other Letter of Credit Documents, except for any such proceeds or payments received
  by such Letter of Credit Issuer from the Agent pursuant to the terms of this Agreement, or (ii) payments
  from the Agent in excess of such Letter of Credit Issuer's ratable portion of all such distrbutions by the
  Agent, such Letter of Credit Issuer shall promptly turn the same over to the Agent, in kind, and with such
  endorsements as may be required to negotiate the same to the Agent, or in same day funds, as applicable,
  for the account of ull of the L~ller of Credit Issucri: and for application to the Obligations in accordance
  with the applicable provisions ofthis Agreement.

               12.12 Payments bv Agent to Letter of
                                                     Credit Issuers. All payments to be made by the Agent to
   the Letter of Credit Issuers shall be made by bank wire transfer or internal transfer of immediately
   available funds to each Letter of Credit Issuer pursuant to wire transfer instructions delivered in writing to
   the Agent on or prior to the Closing Date (or if such Letter of Credit Issuer is an Assignee, on the
   applicable Assignment and Acceptance), or pursuant to such other wire transfer instrctions as each part
   may designate for itself by wrtten notice to the Agent. Concurrently with each such payment, the Agent

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shall identify whether such payment (or any portion thereof) represents repayment of a reimbursement
obligation, interest thereon or other amounts payable hereunder. Unless the Agent receives notice from
the Account Part prior to the date on which any payment is due to the Letter of Credit Issuers that the
Account Part wil not make such payment in full as and when required, the Agent may assume that the
Account Part has made such payment in full to the Agent on such date in immediately available funds
and the Agent may (but shall not be so required), in reliance upon such assumption, distrbute to each
Letter of Credit Issuer on such due date an amount equal to the amount then due such Letter of Credit
Issuer. If and to the extent the Account Part has not made such payment in full to the Agent, each Letter
 of Credit Issuer shall repay to the Agent on demand such amount distrbuted to such Letter of Credit
 Issuer, together with interest thereon at the Federal Funds Rate for each day from the date such amount is
distributed to such Letter of Credit Issuer until the date repaid.

         12.13 Letter of Credit Issuers' Failure to Perform. It is understood that (i) no Letter of Credit
Issuer shall be responsible for any failure by any other Letter of Credit Issuer to perform its obligation to
issue any Letter of Credit hereunder; nor shall any Commitment of any Letter of Credit Issuer be
increased or decreased as a result of any failure by any other Letter of Credit Issuer to perform its
obligation to issue any Letter of Credit hereunder, (ii) no failure by any Letter of Credit Issuer to perform
its obligation to issue any Letter of Credit hereunder shall excuse any other Letter of Credit Issuer from its
obligation to issue any Letter of Credit hereunder, and (iii) the obligations of each Letter of Credit Issuer
hereunder shall be several, not joint and severaL.

             12.14 Relation Among Letter of Credit Issuers. The Letter of Credit Issuers are not parters or
 co-venturers, and no Letter of Credit Issuer shall be liable for the acts or omissionsCredit
                                                                                       of, or Issuer.
                                                                                              (except as
                                                     the Agent) authorized to             act for, any other Letter of
 otherwise set forth herein in case of



                                                                    ARTICLE 13

                                                               MISCELLANEOUS
                                                                                                                                   Credit
             13.1 No Waivers: Cumulative Remedies. No failure by the Agent or any Letter of

 Issuer to exercise any right, remedy, or option under this Agreement or any present or future supplement
 thereto, or in any other agreement between or among the Account Part and the Agent and/or any Letter
 of Credit Issuer, or delay by the Agent or any Letter of Credit Issuer in exercising the same, wil operate
 as a waiver thereof. No waiver by the Agent or any Letter of Credit Issuer wil be effective unless it is in
 writing, and then only to the extent specifically stated. No waiver by the Agent or ihe Letter of Credit
 Issuers on any occasion shall affect or diminish the Agent's and each Letter of Credit Issuer's rights
 thereafter to require strict performance by the Account Part of any provision of this Agreement. The
 Agent and the Letter of Credit Issuers may proceed directly to collect the Obligations without any prior
  recourse to the CollateraL. The Agent's and each Letter of Credit Issuer's rights under this Agreement
  wil be cumulative and not exclusive of any other right or remedy which the Agent or any Letter of Credit
  Issuer may have.

          13.2 Severabilitv. Thc ilegality or unenforceability of any provision of this Agreement or any
  Letter of Credit Document or any instruent or agreement required hereunder shall not in any way affect
  or impair the legality or enforceability of the remaining provisions of this Agreement or any instrment or
  agreement required hereunder.

               13.3 Governing Law: Choice of
                                                                  Forum: Service of           Process.

             (a) IN THE EVENT OF A CONFLICT BETWEEN THE TERMS OF THIS
   AGREEMENT AND THE FACILITY ORDER, THE FACILITY ORDER SHALL CONTROL. THIS

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AGREEMENT SHALL BE INTERPRETED AND THE RIGHTS AND LIABILITIES OF THE
PARTIES HERETO DETERMINED IN ACCORDANCE WITH THE INTERNAL LAWS (AS
OPPOSED TO THE CONFLICT OF LAWS PROVISIONS PROVIDED THAT PERFECTION ISSUES
WITH RESPECT TO ARTICLE 9 OF THE UCC MAY GIVE EFFECT TO APPLICABLE CHOICE
OR CONFLICT OF LAW RULES SET FORTH IN ARTICLE 9 OF THE UCe) OF THE STATE OF
NEW YORK TO THE EXTENT NOT PREEMPTED BY FEDERAL BANKUPTCY LAWS;
PROVIDED THAT THE AGENT AND THE LETTER OF CREDIT ISSUERS SHALL RETAIN ALL
RIGHTS ARISING UNDER FEDERAL LAW.

                   (b) ANY LEGAL ACTION OR PROCEEDING WITH RESPECT TO THIS
AGREEMENT OR ANY OTHER LETTER OF CREDIT DOCUMENT MAY BE BROUGHT IN THE
BANKRUPTCY COURT (OR, IF THE BANKUPTCY CASE IS DISMISSED, OR WITH RESPECT
TO ANY APPLICANT WHICH IS NO LONGER SUBJECT TO THE JURISDICTION OF THE
BANKUPTCY COURT, IN THE FEDERAL, DISTRICT COURT FOR THE SOUTHERN DISTRICT
OF NEW YORK, AND BY EXECUTION AND DELIVERY OF THIS AGREEMENT, EACH OF THE
ACCOUNT PARTY, THE AGENT AND THE LETTER OF CREDIT ISSUERS CONSENTS, FOR
ITSELF AND IN RESPECT OF ITS PROPERTY, TO THE JURISDICTION OF SUCH COURTS.
EACH OF THE ACCOUNT PARTY, THE AGENT AND THE LETTER OF CREDIT ISSUERS
IRRVOCABLY WAIVES ANY OBJECTION, INCLUDING ANY OBJECTION TO THE LAYING
OF VENUE OR BASED ON THE GROUNDS OF FORUM NON CONVENIENS, WHICH IT MAY
NOW OR HEREAFTER HAVE TO THE BRIGING OF ANY ACTION OR PROCEEDING IN SUCH
JURISDICTION IN RESPECT OF THIS AGREEMENT OR ANY DOCUMENT RELATED HERETO.

                   (c) EACH APPLICANT HEREBY WAIVES PERSONAL SERVICE OF ANY
AND ALL PROCESS UPON IT AND CONSENTS THAT ALL SUCH SERVICE OF PROCESS MAY
BE MADE BY FACSIMILE OR BY REGISTERED MAIL (RETURN RECEIPT REQUESTED)
DIRECTED TO THE APPLICANT REPRESENTATIVE AT ITS ADDRESS SET FORTH IN
SECTION 13.8 AND SERVICE SO MADE SHALL BE DEEMED TO BE COMPLETED UPON THE
EARLIER OF RECEIPT OR FIVE (5) DAYS AFTER THE SAME SHALL HAVE BEEN SO
DEPOSITED IN THE U.S. MAILS POSTAGE PREPAID. NOTHING CONTAIND HEREIN SHALL
AFFECT THE RIGHT OF THE AGENT OR THE LETTER OF CREDIT ISSUERS TO SERVE
LEGAL PROCESS BY ANY OTHER MANNER PERMITTED BY LAW.

                          OF JURY   TRIAL.   THE   ACCOUNT     PARTY, THE    LETTER   OF   CREDIT
         13.4 WAIVER

 ISSUERS AND THE AGENT EACH IRRVOCABLY WAIVE THEIR RESPECTIVE RIGHTS TO A
 TRIAL BY JURY OF ANY CLAIM OR CAUSE OF ACTION BASED UPON OR ARISING OUT OF
 OR RELATED TO THIS AGREEMENT, THE OTHER LETTER OF CREDIT DOCUMENTS, OR
 THE TRANSACTIONS CONTEMPLATED HEREBY OR THEREBY, IN ANY ACTION,
 PROCEEDING OR OTHER LITIGATION OF ANY TYPE BROUGHT BY ANY OF THE PARTIES
 AGAINST ANY OTHER PARTY OR ANY AGENT-RELATED PERSON, PARTICIPANT OR
 ASSIGNEE, WHETHER WITH RESPECT TO CONTRACT CLAIMS, TORT CLAIMS, OR
 OTHERWISE. THE ACCOUNT PARTY, THE LETTER OF CREDIT ISSUERS AND THE AGENT
 EACH AGREE THAT ANY SUCH CLAIM OR CAUSE OF ACTION SHALL BE TRIED BY A
 COURT TRIAL WITHOUT A JURY. WITHOUT LIMITING THE FOREGOING, THE PARTIES
 FURTHER AGREE THAT THEIR RESPECTIVE RIGHT TO A TRIAL BY JURY is WAIVED BY
 OPERATION OF THIS SECTION AS TO ANY ACTION, COUNTERCLAIM OR OTHER
 PROCEEDING WHICH SEEKS, IN WHOLE OR IN PART, TO CHALLENGE THE VALIDITY OR
 ENFORCEABILITY OF THIS AGREEMENT OR THE OTHER LETTER OF CREDIT DOCUMENTS
 OR ANY PROVISION HEREOF OR THEREOF. THIS WAIVER SHALL APPLY TO ANY
 SUBSEQUENT AMENDMENTS, RENEWALS, SUPPLEMENTS OR MODIFICATIONS TO THIS
 AGREEMENT AND THE OTHER LETTER OF CREDIT DOCUMENTS.

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           13.5 Survival of                                       the Account Part's representations
                                      Representations and Waranties. All of

and warranties contained in this Agreement shall survive the execution, delivery, and acceptance thereof
by the parties, notwithstanding any investigation by the Agent or the Letter of Credit Issuers or their
respective agents.


           13.6 Other Security and Guaranties. The Agent, may, without notice or demand and without
affecting the Account Part' obligations hereunder, from time to time: (a) take from any Person and hold
collateral (other than funds on deposit in the Cash Collateral Accounts) for the payment of all or any par
of the Obligations and exchange, enforce or release such collateral or any part thereof; and (b) accept and
hold any endorsement or guaranty of payment of all or any part of the Obligations and release or
substitute any such endorser or guarantor, or any Person who has given any Lien in any other collateral as
security for the payment of all or any part of the Obligations, or any other Person in any way obligated to
pay   all or any part of       the Obligations

        13.7 Fees and Expenses. The Account Part agrees to pay to the Agent, for its benefit, on
demand, all costs and expenses that Agent pays or incurs in connection with the negotiation, preparation,
syndication, consummation, administration, enforcement, and termination of this Agreement or any of the
other Letter of Credit Documents, including: (a) Attorney Costs; (b) costs and expenses (including
attorneys' and paralegals' fees and disbursements) for any amendment, supplement, waiver, consent, or
subsequent closing in connection with the Letter of Credit Documents and the transactions contemplated
thereby; and (c) sums paid or incurred to pay any amount or take any action required of the Account Part
under the Letter of Credit Documents that the Account Part fails to payor take. In addition, the Account
Part agree to pay costs and expenses incurred by the Agent (including Attorneys' Costs) to the Agent,
for its benefit, on demand, and to the other Letter of Credit Issuers for their benefit, on demand, and all
reasonable fees, expenses and disbursements incurred by such other Letter of Credit Issuers for one law
firm retained by such other Letter of Credit Issuers, in each case Attorneys' Costs) paid or incurred to
obtain payment of the Obligations and otherwise enforce the provisions of the Letter of Credit
Documents, or to defend any claims made or threatened against the Agent or any Letter of Credit Issuer
arising out of the transactions contemplated hereby (including preparations for and consultations
concerning any such matters). The foregoing shall not be construed to limit any other provisions of the
Letter of Credit Documents regarding costs and expenses to be paid by the Account Part.

         13.8 Notices. Except as otherwise provided herein, all notices, demands and requests that any
party is required or elects to give to any other shall be in writing, or by a telecommunications device
capable of creating a written record, and any such notice shall become effective (a) upon personal
 delivery thereof, including, but not limited to, delivery by overnight mail and courier service, (b) four (4)
 days after it shall have been mailed by United States mail, first class, certified or registered, with postage
 prepaid, or (c) in the case of notice by such a telecommunications device, when properly transmitted, in
 each case addressed to the part to be notified as follows:

                           If to the Agent or to the Bank:

                                              Bank of America, N.A.
                                              335 Madison Avenue
                                              New     York,    New     York 10017
                                              Attention: Allan Juleus
                                                              and
                                                          Ed Kahn
                                              Facsimile No.: (312) 453-3977




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                                              with copies to:

                                              Latham & Watkins
                                              233 South Wacker Drive, Suite 5800
                                              Chicago, Ilinois 60606
                                              Attention: David S..Heller
                                                                 and
                                                          Jeffrey G. Moran
                                              Facsimile No.: (312) 993-9767

                       If   to the Account Part, to the Account Part:

                                               W. R. Grace & Co.-Conn.
                                               7500 Grace Drive
                                               Columbia, Maryland 21044
                                               Attention: Asif Arshad
                                               Facsimile No.: (410) 531-4461

                                               with a copy to:

                                               Kirkland & Ells
                                               60 I Lexington Avenue
                                               New York, New York 10022
                                               Attention: Theodore L. Freedman
                                               Facsimile No.: (212) 446-4900

or to such other address as each part may designate for itself by like notice. Failure or delay in
delivering copies of any notice, demand, request, consent, approval, declaration or other communication
to the persons designated above to receive copies shall not adversely affect the effectiveness of such
notice, demand, request, consent, approval, declaration or other communication.

             13.9 Waiver of            Notices. Unless otherwise expressly provided herein, the Account Part waive
presentment, and notice of demand or dishonor and protest as to any instrument, notice of intent to
accelerate the Obligations and notice of acceleration of the Obligations, as well as any and all other
notices to which the Account Part might otherwise be entitled. No notice to or demand on the Account
Part which the Agent or any Letter of Credit Issuer may elect to give shall entitle the Account Part to
any or further notice or demand in the same, similar or other circumstances.

             13.10 Binding Effect. The provisions of                       this Agreement shall be binding upon and inure to the
benefit of      the respective representatives, successors, and permitted assigns of
                                                                                                        the parties hereto; provided,
however, that no interest herein may be assigned by the Account Part without prior wrtten consent of
the Agent and each Letter of Credit Issuer. The rights and benefits of the Agent and the Letter of Credit
Issuers hereunder shall, if such Persons so agree, inure to any part acquiring any interest in the
Obligations or any part thereof:

             13.11 Indemnity of the Agent and the Letter of Credit Issuers bv the Account Part.

                            (a) The Account Part agrees to defend, indemnify and hold the Agent-Related
Persons, and each Letter of Credit Issuer and each of its respective offcers, directors, employees, counsel,
representatives, agents and attorneys-in-fact (each, an "Indemnified Person") harmless from and against
any and all liabilities, obligations, losses, damages, penalties, actions, judgments, suits, costs, charges,

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expenses and disbursements (including Attorney Costs) of any kind or nature whatsoever which may at
any time (including at any time following repayment of the Obligations and the termination, resignation
or replacement of the Agent or replacement of any Letter of Credit Issuer) be imposed on, incurred by or
asserted against any such Person in any way relating to or arising out of this Agreement or any document
contemplated by or referred to herein, or the transactions contemplated hereby, or any action taken or
omitted by any such Person under or in connection with any of the foregoing, including with respect to
any investigation, litigation or proceeding (including any insolvency proceeding or appellate proceeding)
related to or arising out of this Agreement, any other Letter of Credit Document, or the Letters of Credit
or the use of the proceeds thereof, whether or not any Indemnified Person is a par thereto (all the
foregoing, collectively, the "Indemnified Liabilities"); provided, that the Account Part shall not have any
obligation hereunder to any Indemnified Person with respect to Indemnified Liabilities resulting solely
from the gross negligence or willful misconduct of such Indemnified Person. The agreements in this
Section shall survive payment of all other Obligations.

                       (b) The Account Part agrees to indemnify, defend and hold harmless the Agent and
the Letter of Credit Issuers from any loss or liability imposed upon or incurred by any such. Person
 directly or indirectly arising out of the use, generation, manufacture, production, storage, release,
 threatened release, discharge, disposal or presence of a hazardous substance relating to the Account
 Part's operations, business or propert. This indemnity wil apply whether the hazardous substance is
 on, under or about the Account Part's propert or operations or propert leased to the Account Part.
 The indemnity includes but is not limited to Attorneys Costs. The indemnity extends to the Agent and the
 Letter of Credit Issuers, their parents, affiliates, Subsidiaries and all of their directors, offcers, employees,
 agents, successors, attorneys and assigns. "Hazardous substances" means any substance, material or
 waste that is or becomes designated or regulated as "toxic," "hazardous,"
                                                                       law"pollutant," or "contaminant"
                                                                           (whether under    common law,or
 a similar designation or regulation under any federal, state or local

 statute, regulation or otherwise) or judicial or administrative interpretation of such, including petroleum
 or natural gas. This indemnity wil survive repayment of all other Obligations.
                      Liability. NO CLAIM MAY BE MADE BY ANY APPLICANT, ANY
             13.12 Limitation of

 LETTER OF CREDIT ISSUER OR OTHER PERSON AGAINST THE AGENT, ANY LETTER OF
 CREDIT ISSUER OR THE AFFILIATES, DIRECTORS, OFFICERS, EMPLOYEES, COUNSEL,
  REPRESENTATIVES, AGENTS OR ATTORNEYS IN FACT OF ANY OF THEM FOR ANY
  SPECIAL, INDIRECT, CONSEQUENTIAL OR PUNITIVE DAMAGES IN RESPECT OF ANY
  CLAIM FOR BREACH OF CONTRACT OR ANY OTHER THEORY OF LIABILITY ARISING OUT
  OF OR RELATED TO THE TRANSACTIONS CONTEMPLATED BY THIS AGREEMENT OR ANY
  OTHER LETTER OF CREDIT DOCUMENT, OR ANY ACT, OMISSION OR EVENT OCCURRG
  IN CONNECTION THEREWITH, AND ANY APPLICANT AND EACH LETTER OF CREDIT
  ISSUER HEREBY WAIVE, RELEASE AND AGREE NOT TO SUE UPON ANY CLAIM FOR SUCH
  DAMAGES, WHETHER OR NOT ACCRUED AND WHETHER OR NOT KNOWN OR SUSPECTED
  TO EXIST IN ITS FAVOR.

          13~ 13 Final Agreement. This Agreement and the other Letter of Credit Documents are intended
  by the Account Part, the Agent and the Letter of Credit Issuers to be the final, complete, and exclusive
  expression of the agreement between them. This Agreement supersedes any and all prior oral or written
  agreements relating to the subject matter hereof. No modification, rescission, waiver, release, or
  amendment of any provision of this Agreement or any other Letter of Credit Document shall be made,
  except by a written agreement signed by the Account Part and a duly authorized offcer of each of the
  Agent and the requisite Letter of Credit Issuers.

          13 .14 Counterparts. This Agreement may be executed in any number of counterparts, and by
   the Agent, each Letter of Credit Issuer and the Account Part in separate counterparts, each of which shall

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be an original, but all of which shall together constitute one and the same agreement; signature pages may
be detached from multiple separate counterpart and attched to a single counterpart so that all signature
pages are physically attched to the same document.
                                                                                                                   reference
              13.15 Captions. The captions contained in this Agreement are for convenience of

only, are without substantive meaning and should not be constred to modify, enlarge, or restrct any
provision.

       13.16 Right of Setoff. In addition to any rights and remedies of the Letter of Credit Issuers
provided by law, if an Event of Default exists, subject to Section 3.3(b), each Letter of Credit Issuer is
authorized at any time and from time to time, without prior notice to the Account Part, any such notice
being waived by the Account Part to the fullest extent permitted by law, to set off and apply any and all
deposits (general or special, time or demand, provisional or final) at any time held by, and other
indebtedness at any time owing by, such Letter of Credit Issuer or any Affliate of such Letter of Credit
Issuer to or for the credit or the account of the Account Part against any and all Obligations owing to
such Letter of Credit Issuer, now or hereafter existing, irrespective of whether or not the Agent or such
Letter of Credit Issuer shall have made demand under this Agreement or any Letter of Credit Document
and although such Obligations may be contingent or unmatured. Each Letter of Credit Issuer agrees
promptly to notify the Account Part and the Agent after any such set-off and application made by such
Letter of Credit Issuer; provided, however, that the failure to give such notice shall not affect the validity
 of    such set-off      and application. NOTWITHSTANDING THE FOREGOING, NO LETTER OF CREDIT
 ISSUER SHALL EXERCISE ANY RIGHT OF SET-OFF, BANKER'S LIEN, OR THE LIKE
 AGAINST ANY DEPOSIT ACCOUNT OR PROPERTY OF ANY APPLICANT HELD OR
 MAINTAINED BY SUCH LETTER OF CREDIT ISSUER WITHOUT THE PRIOR WRITTEN
 UNANIMOUS CONSENT OF THE LETTER OF CREDIT ISSUERS.

               13.17 Confidentiality.

                           (a) The Account Part hereby consent that the Agent and each Letter of Credit Issuer
 may issue and disseminate to the public general information descrilJing the credit accommodation entered
 into pursuant to this Agreement, including the names and addresses of the Account Part and a general
  description of the Account Part's business and may use the Account Part' names in advertising and
  other promotional materiaL.


                            (b) Each Letter of Credit Issuer severally agrees to take normal and reasonable
  precautions and exercise due care to maintain the confidentiality of all information identified as
  "confidential" or "secret" by the Account Part and provided to the Agent or such Letter of Credit Issuer
  by or on behalf of the Account Part, under this Agreement or any other Letter of Credit Document,
  except to the extent that such information (i) was or becomes generally available to the public other than
  as a result of disclosure by the Agent or such Letter of
                                                             Credit Issuer, or (ii) was or becomes available on a
  non-confidential basis from a source other than the Account Part; provided that such source is not bound
  by a confidentiality agreement with the Account Part known to the Agent or such Letter of Credit Issuer;
  provided, however, that the Agent and any Letter of
                                                           Credit Issuer may disclose such information (1) at the
      request or pursuant to any requirement of any Governental Authority to which th~ Ag~llt or such Letter
      of Credit Issuer is subject or in connection with an examination of the Agent or such Letter of Credit
      Issuer by any such Governental Authority; (2) pursuant to subpoena or other court process; (3) when
      required to do so in accordance with the provisions of any applicable Requirement of Law; (4) to the
      extent reasonably required in connection with any litigation or proceeding (including, but not limited to,
      any bankruptcy proceeding) to which the Agent, any Letter of Credit Issuer or their respective Affliates
      may be part; (5) to the extent reasonably required in connection with the exercise of any remedy
      hereunder or under any other Letter of Credit Document; (6) to the Agent's or such Letter of Credit

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Issuer's independent auditors, accountants, attorneys and other professional advisors; (7) to any
prospective Assignee under any Assignent and Acceptance, actual or potential; provided that such
prospective Assignee agrees to keep such information confidential to the same extent required of the
Agent and the Letter of Credit Issuers hereunder; (8) as expressly permitted under the terms of any other
document or agreement regarding confidentiality to which the Account Part is part or is deemed part
with the Agent or such Letter of Credit Issuer, and (9) to its Affiiates.

           13.18 Conflcts with Other Letter of Credit Documents. Unless otherwise expressly provided in
this Agreement (or in another Letter of Credit Document by specific reference to the applicable provision
contained in this Agreement), if any provision contained in this Agreement conflcts with any provision
of any other Letter of Credit Document, the provision contained in this Agreement shall govern and
control.

                                           (signature page follows)




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                   IN WITNSS WHEREOF, the parties have entered into this Agreement on the date first
above written.
                                                  ACCOUNT PARTY:

                                                  W. R. Grace & Co.-Conn., as Account Part

                                                  By:
                                                  Its Senior Vice President or Vice President


                                                  AGENT:

                                                   BANK OF AMERICA, N.A., as the Agent

                                                   By:
                                                   Title:

                                                   LETTER OF CREDIT ISSUER:

                                                   BANK OF AMERICA, N.A., as a Letter of
                                                                                                           Credit
                                                   Issuer

                                                   By:
                                                               Title:




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                                                                  ANNEX A
                                                                       to
                                                               Credit A!!reement

                                                                    Definitions

                       Capitalized terms used in the Letter of Credit Documents shall have the following
respective meanings (unless otherwise defined therein), and all section references in the following
definitions shall refer to sections of the Agreement:

               "ACH Transactions" means any cash management or related services including the
automatic clearing house transfer of funds by the Bank for the account of the Account Part pursuant to
agreement or overdrafts.

                 "Affiiate" means, as to any Person, any other Person which, directly or indirectly, is in
control of, is controlled by, or is under common control with, such Person or which owns, directly or
indirectly, ten percent (I 0%) or more of the outstanding equity interest of such Person. A Person shall be
deemed to control another Person if the controllng Person possesses, directly or indirectly, the power to
direct or cause the direction of the management and policies of the other Person, whether through the
ownership of voting securities, by contract, or otherwise.

                         "Administration Fee" has the meaning specified in Section 2.3(b).

                         "Agent" has the meaning set forth in the Preamble to the Agreement.

                "Agent-Related Persons" means the Agent, together with its Affiiates, and the offcers,
 directors, employees, counsel, representatives, agents and attorneys-in-fact of the Agent and such
 Affliates.
                 "Agreement" means the Post-Petition Letter of Credit Facilty Agreement to which this
 Annex A is attached, as from time to time amended, modified or restated.

                          "Account Part" has the meaning set forth in the Preamble to the Agreement.

                          "Applicable Percentage" means, with respect to the payment of
                                                                                                        the Unused Line Fee, for
 each month (or lesser period as applicable), if
                                                                       the average daily Availability during such month (or such
 lesser period) is (i) less than or equal to $50,000,000, 0.50% per annum, or (ii) greater than $50,000,000,
 0.75% per annum.

                              "Assignee" has the meaning specified in Section l1.2(a).

                              "Assignment and Acceptance" has the meaning specified in Section II.2(a).

                              "Attomey Costs" mcans and includes all reasonable documented fees, expenses and
  disbursements of any law firm or other counsel engaged by the Agent, the reasonably allocated costs and
  expenses of      internal       legal services of      the Agent.

                "Availability" means, at any time (a) the lesser of (i) an amount equal to 95.24% of the
  LlC Cash Collateral Account Balance at such time or (ii) $100,000,000, minus, (b) in each case, the
  aggregate outstanding face amount of all Letters of Credit.



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                      "Bank" means Bank of America, N.A., a national banking association, or any successor
entity thereto.

                      "Bank Products" means anyone or more of the following tyes of services or facilities
extended to the Account Part by the Bank or any affiiate of the Bank in reliance on the Bank's
agreement to indemnify such affliate: (i) credit cards; (ii) ACH Transactions; (iii) cash management,
including controlled disbursement services; and (iv) Hedge Agreements.

                       "Bankruptcy Case" has the meaning specified in the recitals to this Agreement.

                       "Bankptcy Code" means Title 11 of                           the United States Code (11 U.S.c. § 101 et seq.),
as amended.

                       "Bankrptcy Court" means the United States Bankptcy Court for the Distrct of
Delaware, or any other court having jurisdiction over the Bankptcy Case from time to time, including,
without limitation, the United States Distrct Court for the District of Delaware if and to the extent it
withdraws the reference with respect to the Bankptcy Case, any part thereof, or any matter or
proceeding therein.

                       "Base Rate" means, for any day, a per annum rate equal to the greatest of (a) the Prime
                                                                                             OR for a 30-day
Rate for such day; (b) the Federal Funds Rate for such day, plus 0.50%; and (c) LIB

interest period as determined on such day.

               "Business Day" means any day that is not a Saturday, Sunday, or a day on which banks
 in New York, New York or Charlotte, North Carolina are required or permitted to be closed.

                 "Capital Adequacy Regulation" means any guideline, request or directive of any central
 bank or other Governmental Authority, or any other law, rule or regulation, whether or not having the
 force of law, in each case, regarding capital adequacy of any bank or of any corporation controllng a
 bank.

               "Cash Collateral Accounts" means, collectively, the LlC Cash Collateral Account, the
 FIX Hedge Cash Collateral Account and the Commodity Hedge Cash Collateral Account.

                "Cash Equivalents" means (a) direct obligations of, or obligations guaranteed by, the
 United States of America or any agency thereof, (b) commercial paper issued in the United States of
 America and rated at least A-I or P-i by at least one nationally recognized rating organization and money
 market funds rated at least AA, Aaa or other equivalent of highest rating by at least one nationally
 recognized rating organization, (c) certificates of deposit issued by or eurodollar deposits made with any
 Letter of Credit Issuer, any Affiliate of any Letter of Credit Issuer, or any bank or trust company which
 has (or the parent of which has) capital, surplus and undivided profits aggregating at least $100,000,000
  (or the equivalent amount in another currency), (d) drafts accepted by any bank or trst company referred
  to in clause (c) above or any other negotiable instrment guaranteed or endorsed with full recourse by any
  such ban or trust company , (e) repurchase agreements with æspt:cl lo any of the foregoing tycs of
  securities described in clauses (a) and (b) above, and (f) investments in money market funds substantially
  all of whose assets are comprised of securities of the tyes described in clause (a) through (e) above;
  provided that (i) each such obligation, certificate of deposit, draft, investment, security and instrument
  (including those subject to repurchase agreements) matures within one year after it is acquired and (ii)
  each item of such commercial paper (including those subject to repurchase agreements) matures within
  ninety (90) days after it is acquired by the applicable Account Part or any Other Subsidiary.



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                    "Closing Date" means the date of this Agreement.

                    "Code" means the Internal Revenue Code of 1986.

                    "Committee" means any offcial committee(s) appointed in the Bankptcy Case.

                 "Commitment" means, at any time with respect to a Letter of Credit Issuer, the amount
set forth beside such Letter of Credit Issuer's name under the heading "Commitment" on Schedule 1.1
attached to the Agreement or on the signature page of the Assignment and Acceptance pursuant to which
such Letter of Credit Issuer became a Letter of Credit Issuer hereunder in accordance with the provisions
of Section 11.2, as such Commitment may be adjusted from time to time' in accordance with the
provisions of Section 11.2, and "Commitments" means, collectively, the aggregate amount of the
commitments of all of the Letter of Credit Issuers.

               "Commodity Hedge Cash Collateral Account" means a cash collateral account with the
Bank securing the Commodity Hedge Obligations under the sole dominion and control of the Agent, for
the ratable benefit of the Agent and the holders of the Commodity Hedge Obligations (and, subject to
Section 3.3(b), for the benefit of the holders of the LlC Obligations and the FIX Hedge Obligations)
pursuant to a control agreement in form and substance satisfactory to the Agent.

                     "Commodity Hedge Obligations" means the obligations arising under the Swap
Documents in connection with any transactions, agreements or documents thereunder that provide for
commodity, cap, floor, or collar transactions (or any combination thereof) related to or for the purpose of
hedging exposure to, fluctuations in commodity prices.

                     "Company" means W. R. Grace & Co., a Delaware corporation and the sole parent
 company of     the Account Part.

                 "Default" means any event or circumstance which, with the giving of notice, the lapse of
 time, or both, would (if not cured, waived, or otherwise remedied during such time) constitute an Event of
 Default.

                      "Default Rate" means a per annum interest rate at all times equal to the sum of (a) the
 otherwise applicable interest rate pursuant to Section 2.1 (a) plus (b) two percent (2%) per annum.

                      "Dollar" and "i" means the lawful currency of the United States. Unless otherwise
 specified, all payments under the Agreement shall be made in Dollars.

                  "Eligible Assignee" means (a) a commercial bank, commercial finance company or other
  asset based lender, having total assets in excess of $1,000,000,000; (b) any Letter of Credit Issuer listed
  on the signature page of this Agreement; (c) any Affliate of any Letter of Credit Issuer; and (d) if an
  Event of    Default has occurred and is continuing, any Person reasonably acceptable to the Agent.

                      "Environmental Laws" means all federal, state or local laws, statutes, common law
  duties, rules, regulations, ordinances and codes, together with all administrative orders, directed duties,
  licenses, authorizations and permits of, and agreements with, any Governmental Authority, in each case
  relating to environmental, health, safety and land use matters.

                   "ERISA" means the Employee Retirement Income Security Act of 1974, as amended and
   regulations promulgated thereunder.



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             "ERISA Affliate" means any trade or business (whether or not incorporated) under
common control with the Account Part within the meaning of Section 414(b) or (c) of the Code (and
Sections 414(m) and (0) of           the Code for purposes of   provisions relating to Section 412 ofthe Code).

                       "ERISA Event" means (a) a Reportble Event with respect to a Pension Plan, (b) a
withdrawal by the Account Part or any ERISA Affliate from a Pension Plan subject to Section 4063 of
ERISA dunng a plan year in which it was a substantial employer (as defined in Section 4001(a)(2) of
ERISA) or a cessation of operations which is treated as such a withdrawal under Section 4062(e) of
ERISA, (c) a complete or partial withdrawal by the Account Part or any ERISA Affliate from a Multi-
employer Plan or notification that a Multi-employer Plan is in reorganization, (d) the filing of a notice of
intent to terminate, the treatment of a Plan amendment as a termination under Section 4041 or 4041A of
ERISA, or the commencement of proceedings by the PBGC to terminate a Pension Plan or Multi-
employer Plan, (e) the occurrence of an event (other than the act of the filing of the Bankptcy Case)
which might reasonably be expected to constitute grounds under Section 4042 of ERISA for the
termination of, or the appointment of a trstee to administer, any Pension Plan or Multi-employer Plan, or
(t) the imposition of any liability under Title iv of ERISA, other than for PBGC premiums due but not
delinquent under Section 4007 of ERISA, upon the Account Part or any ERISA Affliate.

                        "Event of Default" has the meaning specified in Section 9.1.

                        "Exchange Act" means the Secunties Exchange Act of 1934, and regulations
promulgated thereunder.

                        "Existing Letters of Credit" means the letters of credit identified on Exhibit C.

                         "Facilitv Fee" has the meaning specified in Section 2.3(b).

                         "Facility Order" has the meaning specified in Section 8.1(i).

                         "Federal Funds Rate" means, for any day, the rate per annum (rounded upwards, if
 necessary, to the nearest 1/100 of 1 %) equal to the weighted average of the rates on overnight Federal
 funds transactions with members of the Federal Reserve System arranged by Federal funds brokers on
 such day, as published by the Federal Reserve Bank of
                                                                          New York on the Business Day next succeeding
 such day; provided that (a) if             such    day is not a Business Day, the Federal Funds Rate for such day shall be
 such rate on such transactions on the next preceding Business Day as so published on the next succeeding
 Business Day, and (b) if             no such rate is so published on such next succeeding Business Day, the Federal
 Funds Rate for such day shall be the average rate charged to the Bank on such day on such transactions as
 determined by the Agent.

                  "Federal Reserve Board" means the Board of Governors of the Federal Reserve System
  or any successor thereto.

                  "Financial Statements" means, according to the context in which it is used, the financial
  statements referred to in Section 5.1 or any other financial statements required to be given to the Letter of
  Credit Issuers pursuant to this Agreement.

                             "Fiscal Year" means the Account Part fiscal year for financial accounting purposes.
  The current Fiscal Year of the Account Part wil end on December 31, 20 I O.

                "FIX Hedge Cash Collateral Account" means a cash collateral account with the Bank
  secunng the FIX Hedge Obligations under the sole dominion and control of the Agent, for the ratable

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benefit of     the Agent and the holders of
                                                          the FIX Hedge Obligations (and, subject to Section 3.3(b), for the
benefit of the holders of the LlC Obligations and the Commodity Hedge Obligations) pursuant to a
control agreement in form and substance satisfactory to the Agent.

                        "FIX Hedge Obligations" means the obligations arising under the Swap Documents in
connection with any transactions, agreements or documents thereunder that provide for forward foreign
exchange transactions, currency swaps or currency options (or any combination of the foregoing) related
to or for the purpose of      hedging exposure to, fluctuations in exchange rates or currency valuations.

                  "GAAP" means generally accepted accounting principles and practices set forth from
 time to time in the opinions and pronouncements of the Accounting Principles Board and the American
 Institute of Certified Public Accountants and statements and pronouncements of the Financial Accounting
 Standards Board (or agencies with similar functions of comparable stature and authority within the U.S.
 accounting profession).

                         "Governmental Authority" means any nation or government, any state or other political
 subdivision thereof, any central bank (or similar monetary or regulatory authority) thereof, any entity
 exercising executive, legislative, judicial, regulatory or administrative functions of or pertaining to
 government, and any corporation or other entity owned or controlled, through stock or capital ownership
 or otherwise, by any of the foregoing.

                         "Hedge Agreement" means, with respect to any Person, any and all transactions,
  agreements or documents now existing or hereafter entered into, that provide for an interest rate, credit,
  commodity or equity swap, cap, floor, collar, forward foreign exchange transaction, currency swap, cross .
  currency rate swap, currency option, or any combination of, or option with respect to, these or similar
  transactions, for the purpose of hedging any Person's exposure to fluctuations in interest or exchange
  rates, loan, credit exchange, security or currency valuations or commodity prices.

                    "IRS" means the Internal Revenue Service and any Governmental Authority succeeding
  to any of its principal functions under the Code.

                          "LlC Cash Collateral Account" means a cash collateral account with the Bankthe
                                                                                                      securing
                                                                                                         Agent
                                                                                         the Agent, for the ratable benefit of
   the LlC Obligations under the sole dominion and control of

   and the Letter of Credit Issuers (and, subject to Section 3.3(b), for the benefit of the holders of the FIX
   Hedge Obligations and the Commodity Hedge Obligations) pursuant to a control agreement in form and
   substance satisfactory to the Agent.

                           "LlC Cash Collateral Account Balance" means, at any time, the aggregate amount on
   deposit in the Cash Collateral Account at such time.
                                                                                                              the Account Part arising under
                           "LlC Obligations" means, collectively, the obligations of

    this Agreement and each of the other Letter of Credit Documents.

                            "Letter of        Credit" has the meaning specified in Section 1.2(a).

                            "Letter of Credit Documents" means this Agreement, each control agreement entered into
    pursuant hereto, the Facility Order and any other agreements, instrments, and documents heretofore,
    now or hereafter evidencing, guaranteeing or otherwise relating to the Obligations or any other aspect of
    the transactions contemplated by this Agreement.

                            "Letter of Credit Fee" has the meaning specified in Section 2.5.


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                  "Letter of Credit Issuer" means the Bank, any affliate of the Bank or any other financial
institution that issues any Letter of Credit pursuant to this Agreement; provided however that the Agent
shall not cause any Letter of Credit to be issued by a Person which is not a Letter of Credit Issuer and
which is not reasonably acceptable to the Account Part.

                        "LIBOR" means, for any date of determination, the per annum rate of interest (rounded
up, if necessary, to the nearest 1/8th of 1%), determined by the Agent at approximately 11:00 a.m.
(London time) two Business Days pnor to such date of determination
                                                         OR Rate ("BBA LIB
                                                                          equal to the greater
                                                                                     OR"),     of (a) 1.00%
                                                                                           as published   by
per annum and (b )(i) the Bntish Bankers Association LIB

Reuters (or other commercially available source designated by the Agent); or (ii) if BBA LIBOR is not
available for any reason, the per annum interest rate at which Dollar deposits would thebeFederal
                                                                                           offeredReserve
                                                                                                   by the
Bank's London branch to major banks in the London interbank eurodollar market. If

Board imposes a Reserve Percentage with respect to LIBOR deposits, then LIBOR shall be the foregoing
rate, divided by 1, minus the Reserve Percentage.

                  "Lien" means: (a) any interest in propert secunng an obligation owed to, or a claim by,
 a Person other than the owner of
                                    the propert, whether sudi interest is based on the common law, statute,
 or contract, and including a security interest, charge, claim, or lien arising from a mortgage, deed of trst,
 encumbrance, pledge, hypothecation, assignment, deposit arrangement, agreement, secunty agreement,
 conditional sale or trst receipt or a lease, consignment or bailment for secunty purposes; (b) to the extent
 not included under clause (a), any reservation, exception, encroachment, easement, right-of-way,
 covenant, condition, restriction, lease or other title exception or encumbrance affecting propert; and (c)
 any contingent or other agreement to provide any of the foregoing.

                  "Maiority Letter of Credit Issuers" means at any date of determination Letter of Credit
  Issuers whose Pro Rata Shares aggregate more than 50%.

                          "Margin Stock" means "margin stock" as such term is defined in Regulation T, U or X
  of    the Federal Reserve Board.

                  "Material Adverse Effect" means (a) a material adverse change in, or a material adverse
  effect upon, the operations, business, properties, condition (financial or otherwise) of the Account Part
                                                                      the Account Part's ability to pay any
  and its Subsidiaries taken as a whole; (b) a material impairment of

  of the Obligations or payor perform any of its other obligations in accordance with the terms of this
  Agreement or any other Letter of Credit Document; (c) a material adverse effect upon the legality,
  validity, binding effect or enforceability against the Account Part of any Letter of the
                                                                                       Credit Document
                                                                                           Agent's        to
                                                                                                   Liens on
                                                                              the validity, extent or prionty of
   which it is a part; or (d) a material impairment of

   the Cash Collateral Accounts and the amounts on deposit therein or credit thereto.

                   "Multi-employer Plan" means a "multi-employer plan" as defined in Section 4001(a)(3)
   of ERISA  which  is or was at any time during the current year or the immediately preceding six (6) years
   contributed to by the Account Part or any ERISA Affiiate.

                       "Obligations" means all present and future liabilities, obligations, covenants, duties, and
       debts owing by the Account Part to the Agent, any Letter of Credit Issuer, the Bank or any Affiiate of
       the Bank, arising under or pursuant to this Agreement, any of the other Letter of Credit Documents or any
       of the Swap Documents, whether or not evidenced by any note, or other instrument or document, whether
       arising from an extension of credit, opening of a letter of credit, acceptance, loan, guaranty,
       indemnification or otherwise, whether direct or indirect, absolute or contingent, due or to become due,
       pnmary or secondary, as principal or guarantor, and including all pnncipal, interest, charges, expenses,
       fees, attorneys' fees, filing fees and any other sums chargeable to the Account Part hereunder or under

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any of the other Letter of Credit Documents. "Obligations" includes, without limitation, (a) all debts,
liabilties, and obligations now or hereafter arising from or in connection with the Letters of Credit and
(b) all debts, liabilities and obligations now or hereafter arising from or in connection with the Swap
Documents.

                   "Other Subsidiary" means any Subsidiary of
                                                                                    the Company other than the Account Part.

                   "Other Taxes" means any present or future stamp or documentary taes or any other
excise or propert taxes, charges ur similar levies which arise from any payment made hereunder or from
the execution, delivery or registration of, or otherwise with respect to, this Agreement or any other Letter
of Credit Documents.

               "PBGC" means the Pension Benefit Guaranty Corporation or any Governmental
Authority succeeding to the functions thereof.

               "Pension Plan" means a pension plan (as defined in Section 3(2) of ERISA) subject to
Title iv of ERISA and Code Section 412 which the Account Part or ERISA Affiliate of the Account
Part sponsors or maintains.


                    "Person" means any individual, sole proprietorship, partnership, limited liability
company, joint venture, trust, unincorporated organization, association, corporation, Governmental
Authority, or any other entity.

                    "Petition Date" means April 2, 2001.

                    "Plan" means an employee benefit plan (as defined in Section 3(3) of
                                                                                                                     ERISA) which the
 Account Party or any ERISA Affiliate of Account Part sponsors or maintains or to which the Account
 Part or any ERISA Affiiate of Account Part makes, is making, or is obligated to make contributions
 and includes any Pension Plan and Multi-employer Plan.

                    "Prime Rate" means the rate of interest announced by the Bank from time to time as its
 prime rate. Such rate is set by the Bank on the basis of various factors, including its costs and desired
 return, general economic conditions and other factors, and is used as a reference point for pricing some
 loans, which may be priced at, above or below such rate. Any change in such rate announced by the Bank
 shall take effect at the opening of business on the day specified in the public announcement of such
 change.

                         "Pro Rata Share" means, with respect to a Letter of Credit Issuer, a fraction (expressed as
                                        which is the amount of such Letter of Credit Issuer's Commitment and the
 a percentage), the numerator of

 denominator of which is the sum of the amounts of all of the Letter of Credit Issuers' Commitments, or if
 no Commitments are outstanding, a fraction (expressed as a percentage), the numerator of which is the
                                                 Credit Issuer and the denominator of
                                                                                      which is the aggregate
 amount of Obligations owed to such Letter of

 amount of the Obligations owed to the Letter of
                                                    Credit Issuers.

                                                                        the events set forth in Section 4043(c) of
                                                                                                                          ERISA or the
                     "Reportble Event" means, any of

  regulations thereunder, other than any such event for which the 30-day notice requirement under ERISA
  has been waived in regulations issued by the PBGC.

                      "Requirement of Law" means, as to any Person, any law (statutory or common), treaty,
  rule or regulation or determnation of an arbitrator or of a Governmental Authority, in each case




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applicable to or binding upon the Person or any of its propert or to which the Person or any of its
propert is subject.

                "Reserve Percentage" the reserve percentage (expressed as a decimal, rounded up to the
nearest 1/8th of 1%) applicable to member banks under regulations issued from time to time by the
Federal Reserve Board for determning the maximum reserve requirement (including any emergency,
supplemental or other marginal reserve requirement) with respect to eurocurrency funding.

                "Responsible Officer" means the chief executive offcer, chief financial offcer, any vice
president or the president of the Company, or any other officer having substantially the same authority
and responsibilty; or, with respect to compliance with financial' covenants and the preparation of the
Borrowing Base Certificate, the chief financial officer or an assistant treasurer of the Company, or any
other offcer having substantially the same authority and responsibilty.

                       "Stated Termination Date" means r                    11, 2011.

                        "Subsidiary" of a Person means any corporation, association, partership, limited liability
company, joint venture or other business entity of
                                                         which more than fift percent (50%) of   the voting stock
or other equity interests (in the case of     Persons other than corporations), is owned or controlled directly or
indirectly by the Person, or one or more of the Subsidiaries of the Person, or a combination thereof.
Unless the context otherwise clearly requires, references herein to a "Subsidiary" refer to a Subsidiary of
the Company.

               "Swap Documents" means, collectively, that certain ISDA Master Agreement, dated as of
       ,2010, between the Account Part and the Bank, together with the Schedule thereto, each Annex
to such Schedule, each Confirmation thereunder and each other document or instrment issued pursuant
thereto or in connection therewith.

                      "Taxes" means any and all present or future taxes, levies, imposts, deductions, charges or
withholdings, and all      liabilties with respect thereto, excluding, in the case of each Letter of Credit Issuer
and the Agent, such taxes (including income taxes or franchise taxes) as are imposed on or measured by
the Agent's or each Letter of Credit Issuer's net income in any jurisdiction (whether federal, state or local
and including any political subdivision thereof) under the laws of which such Letter of Credit Issuer or
the Agent, as the case may be, is organized or maintains a lending offce.

                        "Termination Date" means the earliest to occur of (i) the Stated Termination Date, (ii) the
 date the Total Facility is terminated either by the Account Part pursuant to Section 3.1 or by the Majority
 Letter of Credit Issuers pursuant to Section 9.2, (iii) the date this Agreement is otherwise terminated for
 any reason whatsoever pursuant to the terms of
                                                  this Agreement and (iv) the Effective Date (as such term
 wil be defined in the approved plan of              reorganization in the Bankptcy Case).

                         "Total Facility" has the meaning specified in Section 1.1.

                         "UCC" means the Uniform Commercial Code, as in effect from time to time, of thc State
 of New York or of any other state the laws of which are required as a result thereof to be applied in
 connection with the issue of perfection of security interests.

                "Unfunded Pension Liability" means the excess of a Pension Plan's benefit liabilities
 under Section 4001(a)(16) of ERISA, over the current value of that Pension Plan's assets, determined in

 1 This will be the date that is 365 days after the Closing Date.


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accordance with the assumptions used under Section 412(c) of the Code for determning whether the
Pension Plan meets the minimum funding standards of Section 412 of the Code for the applicable plan
year.

                "Unused Letter of Credit Amount" means an amount equal to $100,000,000 minus the
sum of (a) the aggregate undrawn amount of all outstanding Letters of Credit, plus, without duplication,
(b) the aggregate unpaid reimbursement obligations due with respect to all Letters of Credit.
                    "Unused Line Fee" has the meaning specified in Section 2.4.

                    Accounting Terms. Any accounting term used in the Agreement shall have, unless
otherwise specifically provided herein, the meaning customarly given in accordance with GAAP, and all
financial computations hereunder shall be computed, unless otherwise specifically provided herein, in
accordance with GAAP as consistently applied and using the same method for inventory valuation as
used in the preparation of the Financial Statements. If any change in generally accepted accounting
principles subsequent to the date of this Agreement is material to either the Account Part or the Letter of
Credit Issuers for the purpose of determining the Account Part' compliance with any covenant contained
in this Agreement, then (A) such change shall not, without the consent of the Majority Letter of Credit
Issuers, if such change makes such covenant less restrctive, or the Account Part, if such change makes
such covenant more restrictive, be effective for the calculation of such covenant unless and until an
 amendment pursuant to clause (B) below with respect to such change and such covenant becomes
 effective, and (B) the Account Part and the Agent and the Letter of Credit Issuers agree to enter into
 negotiations, at the request of the Account Part or the Representative Letter of Credit Issuers, in order to
 amend such covenant so as equitably to reflect such change with the desired result that the criteria for
 evaluating the consolidated financial condition of the Company and its consolidated Subsidiaries shall be
 the same after such change as before such change.

                         Interpretive Provisions. (a) The meanings of defined terms are equally applicable to the
 singular and plural forms of
                                     the defined terms.

                     (b) The words "hereof," "herein," "hereunder" and similar words refer to the
  Agreement as a whole and not to any particular provision of this Agreement; and Subsection, Section,
  Schedule and Exhibit references are to this Agreement unless otherwise specified.

                     (c) (i) The term "documents" includes any and all instruments, documents,
  agreements, certificates, indentures, notices and other writings, however evidenced.

                             (ii) The term "including" is not limiting and means "including without
           limitation."

                              (iii) In the computation of periods of time from a specified date to a later
           specified date, the word "from" means "from and including," the words "to" and "until" each
           mean "to but excluding" and the word "through" means "to and including."

                              (iv) The word "or" is not exclusive.


                      (d) Unless otherwise expressly provided herein, (i) references to agreements
   (including this Agreement) and other contractual instrments shall be deemed to include all subsequent
   amendments and other modifications thereto, but only to the extent such amendments and other
   modifications are not prohibited by the terms of any Letter of Credit Document, and (ii) references to any


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statute or regulation are to be constred as including all statutory and regulatory provisions consolidating,
amending, replacing, supplementing or interpreting the statute or regulation.

                       (e) The captions and headings of the Agreement and other Letter of Credit
Documents are for convenience of reference only and shall not affect the interpretation of this Agreement.

                       (t) The Agreement and other Letter of Credit Documents may use several different
limitations, tests or measurements to regulate the same or similar matters. All such limitations, tests and
measurements are cumulative and shall each be performed in accordance with their terms.

                       (g) The Agreement and the other Letter of Credit Documents are the result of
negotiations among and have been reviewed by counsel to the Agent, the Account Part and the other
parties, and are the products of all parties. Accordingly, they shall not be constred against the Letter of
Credit Issuers or the Agent merely because of       the Agent's or Letter of   Credit Issuers' involvement in their
preparation.




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                                               EXHIBIT B

                    FORM OF ASSIGNMENT AND ACCEPTANCE AGREEMENT

                  This ASSIGNMENT AND ACCEPTANCE AGREEMENT (this "Assignent and
Acceptance") dated as of 201 is made between
                                         (the "Assigror") and (the
"Assignee").
                                                RECITALS

                  WHEREAS, the Assignor is part to that certain Post-Petition Letter of Credit Facility
Agreement dated as of r 1,2010 (as amended, amended and restated, modified, supplemented or
renewed, the "Agreement") among W. R. Grace & Co., a Delaware corporation (the "Company"), and
certin Subsidiaries of the Company which are signatory thereto (together with the Company, each a
"Account Part" and collectively "Account Par"), the several financial institutions from time to time
part thereto (including the Assignor, the "Letter of Credit Issuers"), and Bank of America, N. A., as
agent for the Letter of Credit Issuers (the "Agent"). Any terms defined in the Agreement and not defined
in this Assignment and Acceptance are used herein as defined in the Agreement;

                  WHEREAS, as provided under the Agreement, the Assignor has committed to issuing
letters of credit for the account of the Account Part in an aggregate amount not to exceed $
(the "Commitment"); and
                WHEREAS, the Assignor wishes to assign to the Assignee (part of the) (all) rights and
obligations of the Assignor under the Agreement in respect of its Commitment in an amount equal to
$ (the "Assigned Amount") on the terms and subject to the conditions set forth herein and the
Assignee wishes to accept assignment of such rights and to assume such obligations from the Assignor on
such terms and subject to such conditions;

                  NOW, THEREFORE, in consideration of the foregoing and the mutual agreements
 contained herein, the parties hereto agree as follows:

         1. Assignment and Acceptance.

                   (a) Subject to the terms and conditions of this Assignment and Acceptance, (i) the
 Assignor hereby sells, transfers and assigns to the Assignee, and (ii) the Assignee hereby purchases,
 assumes and undertakes from the Assignor, without recourse and without representation or warranty
 (except as provided in this Assignment and Acceptance) _% (the "Assignee's Percentage Share") of
 (A) the Commitment of the Assignor and (B) all related rights, benefits, obligations, liabilities and
 indemnities of the Assignor under and in connection with the Agreement and the Letter of Credit
 Documents.

                   (b) With enect on and aftcr thc Effective Date (as defined in Section 5 ht:rt:u1), the
 Assignee shall be a part to the Agreement and succeed to all of the rights and be obligated to pedorm all
 of the obligations of a Letter of Credit Issuer under the Agreement, including the requirements concerning
 confidentiality and the payment of indemnification, with a Commitment in an amount equal to the
 Assigned Amount. The Assignee agrees that it will pedorm in accordance with their terms all of the
 obligations which by the terms of the Agreement are required to be performed by it as a Letter of Credit
 Issuer. It is the intent of the parties hereto that the Commitment of the Assignor shall, as of the Effective
  Date, be reduced by an amount equal to the Assigned Amount and the Assignor shall relinquish its rights

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and be released from its obligations under the Agreement to the extent such obligations have been
assumed by the Assignee; provided, however, the Assignor shall not relinquish its rights under Sections
_ and _ of the Agreement to the extent such rights relate to the time prior to the Effective Date.

                     (c) After giving effect to the assignment and assumption set forth herein, on the
Effective Date the Assignee's Commitment wil be $

                     (d) After giving effect to the assignent and assumption set forth herein, on the
Effective Date the Assignor's Commitment wil be $

           2. Payments.

                     The Assignee agrees to pay to the Agent a processing fee in the amount specified in
Section 11.2(a) of     the Agreement.

           3. Reallocation of Payments.

             Any fees and other payments accrued to the Effective Date with respect to the
Commitment shall be for the account of the Assignor. Any fees and other payments accrued on and after
the Effective Date with respect to the Assigned Amount shall be for the account of the Assignee. Each of
the Assignor and the Assignee agrees that it wil hold in trst for the other part any interest, fees and
other amounts which it may receive to which the other part is entitled pursuant to the preceding sentence
and pay to the other part any such amounts which it may receive promptly upon receipt.

           4. Independent Credit Decision.

                The Assignee (a) acknowledges that it has received a copy of the Agreement and the
Schedules and Exhibits thereto, together with copies of the most recent financial statements of the
Company and its Subsidiaries, all applicable materials fied with the Bankptcy Court and all applicable
orders relating to the Bankrptcy Case as it has deemed appropriate, and such other documents and
information as it has deemed appropriate to make its own credit and legal analysis and decision to enter
into this Assignment and Acceptance; and (b) agrees that it wil, independently and without reliance upon
the Assignor, the Agent or any other Letter of Credit Issuer and based on such documents and information
as it shall deem appropriate at the time, continue to make its own credit and legal decisions in taking or
not taking action under the Agreement.

            5. Effective Date: Notices.


                     (a) As between the Assignor and the Assignee, the effective date for this Assignment
and Acceptance shall be , 200_ (the "Effective Date"); provided that the following conditions
precedent have been satisfied on or before the Effective Date:

                            (i) this Assignment and Acceptance shall be executed and delivered by the
            Assignor and the Assignee;

                             ((ii) the consent of the Agent required for an effective assignment of the
            Assigned Amount by the Assignor to the Assignee shall have been duly obtained and shall be in
            full force and effect as of the Effective Date;)

                            (iii) the Assignee shall pay to the Assignor all amounts due to the Assignor
            under this Assignment and Acceptance;


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                            ((iv) the Assignee shall have complied with Section 11.2 of
                                                                                                     the Agreement (if
        applicable);)

                            (v) the processing fee referred to in Section 2(b) hereof and in Section
        11.2e a) of the Agreement shall have been paid to the Agent; and

                 (b) Promptly following the execution of this Assignment and Acceptance, the
Assignor shall deliver to the Account Part and the Agent for acknowledgment by the Agent, a Notice of
Assignment in the form attached hereto as Schedule 1.

        6. (Agent. (INCLUDE ONLY IF ASSIGNOR IS AGENT)

                 (a) The Assignee hereby appoints and authonzes the Assignor to take such action as
agent on its behalf and to exercise such powers under the Agreement as are delegated to the Agent by the
Letter of Credit Issuers pursuant to the terms of the Agreement.

                 (b) The Assignee shall assume no duties or obligations held by the Assignor in its
capacity as Agent under the Agreement.)

        7. Withholding Tax.

                 The Assignee (a) represents and warrants to the Letter of
                                                                          Credit Issuer, the Agent and the
Account Part that under applicable law and treaties no tax wil be required to be withheld by the Letter
of  Credit Issuer with respect to any payments to be made to the Assignee hereunder, (b) agrees to furnish
(if it is organized under the laws of any junsdiction other than the United States or any State thereof) to
the Agent and the Account Part prior to the time that the Agent or Account Part is required to make any
payment of principal, interest or fees hereunder, duplicate executed originals of either U.S. Internal
Revenue Service Form W-8ECI or U.S. Internal Revenue Service Form W-8BEN (wherein the Assignee
claims entitlement to the benefits of a tax treaty that provides for a complete exemption from U.S. federal
income withholding tax on all payments hereunder) and agrees to provide new Forms W-8ECI or W-
8BEN upon the expiration of any previously delivered form or comparable statements in accordance with
applicable U.S. law and regulations and amendments thereto, duly executed and completed by the
Assignee, and (c) agrees to comply with all applicable U.S. laws and regulations with regard to such
withholding tax exemption.

         8. Representations and Warranties.


                 (a) The Assignor represents and warrants that (i) it is the legal and beneficial owner
of the interest being assigned by it hereunder and that such interest is free and clear of any Lien or other
adverse claim; (ii) it is duly organized and existing and it has the full power and authonty to take, and has
taken, all action necessaiy to execute and deliver this Assignent and Acceptance and any other
documents required or permitted to be executed or delivered by it in connection with this Assignent and
Acceptance and to fulfill its obligation:; hereunder; (iii) no notices to, or consents, authonzations or
 approvals of, any Person are required (other than any already given or obtained) for its due execution,
 deliveiy and performance of this Assignent and Acceptance, and apart from any agreements or
 undertkings or fiings required by the Agreement, no further action by, or notice to, or fiing with, any
 Person is required of it for such execution, deliveiy or performance; and (iv) this Assignent and
 Acceptance has been duly executed and delivered by it and constitutes the legal, valid and binding
 obligation of the Assignor, enforceable against the Assignor in accordance with the terms hereof, subject,
 as to enforcement, to bankptcy, insolvency, moratonum, reorganization and other laws of general
 application relating to or affecting creditors' nghts and to general equitable principles.


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                       (b) The Assignor makes no representation or warranty and assumes no responsibility
with respect to any statements, warranties or representations made in or in connection with the Agreement
or the execution, legality, validity, enforceability, genuineness, suffciency or value of the Agreement or
any other instrment or document furnished pursuant thereto. The Assignor makes no representation or
warranty in connection with, and assumes no responsibilty with respect to, the solvency, financial
condition or statements of           the Account Par, or the pedormance or observance by the Account Part, of
any of its respective obligations under the Agreement or any other instrment or document furnished in
connection therewith.

                        (c) The Assignee represents and warrants that (i) it is duly organized and existing
and it has full power and authority to take, and has taken, all action necessary to execute and deliver this
Assignment and Acceptance and any other documents required or permitted to be executed or delivered
by it in connection with this Assignment and Acceptance, and to fulfill its obligations hereunder; (ii) no
notices to, or consents, authorizations or approvals of, any Person are required (other than any already
given or obtained) for its due execution, delivery and pedormance of this Assignment and Acceptance;
and apart from any agreements or undertkings or filings required by the Agreement, no further action by,
or notice to, or filing with, any Person is required of it for such execution, delivery or performance;
(iii) this Assignment and Acceptance has been duly executed and delivered by it and constitutes the legal,
valid and binding obligation of the Assignee, enforceable against the Assignee in accordance with the
terms hereof, subject, as to enforcement, to bankrptcy, insolvency, moratorium, reorganization and other
laws of general application relating to or affecting creditors' rights and to general equitable principles;
(and (iv) it is an Eligible Assignee.)

             9. Further Assurances.

                         The Assignor and the Assignee each hereby agree to execute and deliver such other
 instrments, and take such other action, as either part may reasonably request in connection with the
 transactions contemplated by this Assignment and Acceptance, including the delivery of any notices or
 other documents or instruments to the Account Part or the Agent, which may be required in connection
 with the assignment and assumption contemplated hereby.

              10. Miscellaneous.

                             (a) Any amendment or waiver of any provision of this Assignment and Acceptance
  shall be in writing and signed by the parties hereto. No failure or delay by either part hereto in
  exercising any right, power or privilege hereunder shall operate as a waiver thereof and any waiver of any
  breach of the provisions of this Assignment and Acceptance shall be without prejudice to any rights with
  respect to any other or further breach thereof.

                             (b) All payments made hereunder shall be made without any set-off or counterclaim.


                             ( c) The Assignor and the Assignee shall each pay its own costs and expenses
  incurrcd in connection with thl: iiegotiiiion, prcparation, execution and pedormance of this Assignment
  and Acceptance.

                             (d) This Assignment and Acceptance may be executed in any number of counterparts
   and all of such counterpart taken together shall be deemed to constitute one and the same instrment.

                             (e) THIS ASSIGNMENT AND ACCEPTANCE SHALL BE GOVERNED BY
   AND CONSTRUED IN ACCORDANCE WITH THE LAW OF THE STATE OF NEW YORK. The
   Assignor and the Assignee each irrevocably submits to the non-exclusive jurisdiction of any State or

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Federal court sitting in (New York, New York) over any suit, action or proceeding arising out of or
relating to this Assignment and Acceptance and irrevocably agrees that all claims in respect of such action
or proceeding may be heard and determned in such State or Federal court. Each par to this Assignent
and Acceptance hereby irrevocably waives, to the fullest extent it may effectively do so, the defense of an
inconvenient forum to the maintenance of such action or proceeding.

            (1) THE ASSIGNOR AND THE ASSIGNEE EACH HEREBY KNOWIGLY,
VOLUNTARILY AND INTENTIONALLY WAIVE AN RIGHTS THEY MAY HAVE TO A TRI
BY JURY IN RESPECT OF ANY LITIGATION BASED HEREON, OR ARISING OUT OF, UNER,
OR IN CONNCTION WITH THIS ASSIGNMENT AND ACCEPTANCE, THE CREDIT
AGREEMENT, ANY RELATED DOCUMENTS AND AGREEMENTS OR ANY COURSE OF
CONDUCT, COURSE OF DEALING, OR STATEMENTS (WHETHER ORAL OR WRITTEN).

              IN WITNESS WHEREOF, the Assignor and the Assignee have caused this Assignment
and Acceptance to be executed and delivered by their duly authorized offcers as of the date first above
written.

                                                                         (ASSIGNOR)


                                                      By:
                                                      Title:
                                                      Address:


                                                                         (ASSIGNEE)


                                                      By:
                                                      Title:
                                                      Address:




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                                           SCHEDULE I
                                               to
                                   ASSIGNMENT AND ACCEPTANCE

                            NOTICE OF ASSIGNMENT AND ACCEPTANCE



                                                                                                          , 200_




Bank of America, N.A.


Att:
Re: (Name and Address of Account Part)

Ladies and Gentlemen:

                  We refer to the Post-Petition Letter of Credit Facility Agreement dated as of r 1,
20 I 0 (as amended, amended and restated, modified, supplemented or renewed from time to time the
"Agreement") among W. R. Grace & Co. and certain of its Subsidiaries (collectively, the "Account
li"), the Letter of Credit Issuers referred to therein and Bank of America, N. A., as agent for the Letter
of   Credit Issuers (the "Agent"). Terms defined in the Agreement are used herein as therein defined.

                  I. We hereby give you notice of, and request your consent to, the assignment by
                                   (the "Assignor") to (the "Assignee") of _% of the right,
title and interest of the Assignor in and to the Agreement (including the right, title and interest of the
Assignor in and to the Commitments of         the Assignor and all outstanding Letters of Credit) pursuant to the
Assignment and Acceptance Agreement attched hereto (the "Assignment and Acceptance"). We
understand and agree that the Assignor's Commitment, as of , 200_, is $ , the
aggregate amount of its outstanding reimbursement obligations with respect to Letters of Credit is
$

                  2. The Assignee agrees that, upon receiving the consent of the Agent to such
assignment, the Assignee wil be bound by the terms of the Agreement as fully and to the same extent as
if the Assignee were the Letter of Credit Issuer originally holding such interest in the Agreement.

                  3. The following administrative details apply to the Assignee:


                          (A) Notice Address:

                                  Assignee name:
                                  Address:


                                  Attention:
                                   Telephone: L)
                                   Facsimile: L)

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                         (B) Payment Instrctions:

                                Account No.:
                                         At:


                                Reference:
                                Attention:

                  4. You are entitled to rely upon the representations, warranties and covenants of
each of the Assignor and Assignee contained in the Assignment and Acceptance.

                  IN WITNSS WHEREOF, the Assignor and the Assignee have caused this Notice of
Assignment and Acceptance to be executed by their respective duly authorized offcials, offcers or agents
as of the date first above mentioned.
                                                        Very     trly yours,


                                                        (NAME OF ASSIGNOR)
                                                        By:

                                                        Title:

                                                        (NAME OF ASSIGNEE)
                                                        By:

                                                        Title:



ACKNOWLEDGED AND ASSIGNMENT
CONSENTED TO:

Bank of America, N. A.
as Agent

 By:
 Title:




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                                               SCHEDULE 1.1

                                              COMMITMENTS




                  Letter of Credit Issuer         Commtment              Pro Rata Share
                                                                          (3 decimals)
                Bank of America, N.A.         $100,000,000                 100.000%




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                        EXHIIT B

            Form of 2010 ISDA Master Agreement
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                                                     ISDA
                                   International Swaps and Derivatives Association, Inc.


                  2002 MASTER AGREEMENT
                                       dated as of December 22, 2009




.~ank of Ani~Elca,_~.A.                                             and W.R. Grace & Co. - Conn.

 have entered and/or anticipate entering into one or more transactions (each a "Transaction") that are or wil be
 governed by this 2002 Master Agreement, which includes the schedule (the "Schedule"), and the documents and
 other confirming evidence (each a "Confirmation") exchanged between the parties or otherwise effective for the
 purpose of confirming or evidencing those Transactions. This 2002 Master Agreement and the Schedule are together
 referred to as this "Master Agreement".
 Accordingly, the parties agree as follows:-
 1. Interpretation

 (a) Definitions. The terms defined in Section 14 and elsewhere in this Master Agreement wil have the
 meanings therein specified for the purose of this Master Agreement.

 (b) Inconsistency. In the event of any inconsistency between the provisions of the Schedule and the other
 provisions of this Master Agreement, the Schedule wil prevaiL. In the event of any inconsistency between the
 provisions of any Confirmation and this Master Agreement, such Confirmation wil prevail for the purpose of the
 relevant Transaction.

 (c) Single Agreement. All Transactions are entered into in reliance on the fact that this Master Agreement and
 all Confirmations form a single agreement between the parties (collectively referred to as this "Agreement"), and the
 parties would not otherwise enter into any Transactions.
 2. Obligations

  (a) General Conditions.

          (i) Each par wil make each payment or delivery specified in each Confirmation to be made by it,
          subject to the other provisions of        this Agreement.

          (ii) Payments under this Agreement wil be made on the due date for value on that date in the place of
          the account specified in the relevant Confirmation or otherwise pursuant to this Agreement, in freely
          transferable funds and in the manner customary for payments in the required currency. Where settlement is
          by delivery (that is, other than by payment), such delivery wil be made for receipt on the due date in the
          manner customary for the relevant obligation unless otherwise specified in the relevant Confirmation or
          elsewhere in this Agreement.



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        (iii) Each obligation of each par under Section 2(a)(i) is subject to (1) the condition precedent that no
        Event of Default or Potential Event of Default with respect to the other par has occured and is contiuing,
        (2) the condition precedent that no Early Termnation Date in respect of the relevant Transaction has
        occured or been effectively designated and (3) each other condition specified in ths Agreement to be a
        condition precedent for the purose of ths Section 2(a)(iii).

(b) Change of Account. Either par may change its account for receiving a payment or delivery by giving
notice to the other part at least five Local Business Days prior to the Scheduled Settlement Date for the payment or
delivery to which such change applies unless such other par gives timely notice of a reasonable objection to such
change.

( c) Netting of Payments. If on any date amounts would otherwise be payable:-


         (i) in the same curency; and

         (ii) in respect of the same Transaction,

by each part to the other, then, on such date, each part's obligation to make payment of any such amount wil be
automatically satisfied and discharged and, if the aggregate amount that would otherwise have been payable by one
part exceeds the aggregate amount that would otherwise have been payable by the other par, replaced by an
obligation upon the part by which the larger aggregate amount would have been payable to pay to the other par the
excess of the larger aggregate amount over the smaller aggregate amount.

The parties may elect in respect of two or more Transactions that a net amount and payment obligation wil be
determined in respect of all amounts payable on the same date in the same currency in respect of those Transactions,
regardless of whether such amounts are payable in respect of the same Transaction. The election may be made in the
Schedule or any Confirmation by specifying that "Multiple Trasaction Payment Netting" applies to the Transactions
identified as being subject to the election (in which case clause (ii) above wil not apply to such Transactions). If
Multiple Transaction Payment Netting is applicable to Transactions, it wil apply to those Transactions with effect
from the starting date specified in the Schedule or such Confirmation, or, if a starting date is not specified in the
Schedule or such Confirmation, the starting date otherwise agreed by the parties in writing. This election may be
made separately for different groups of Transactions and wil apply separately to each pairing of Offces through
which the parties make and receive payments or deliveries.

 (d) Deduction or Withholdingfor Tax.

          (i) Gross-Up. All payments under this Agreement will be made without any deduction or withholding
          for or on account of any Tax unless such deduction or withholding is required by any applicable law, as
          modified by the practice of any relevant governental revenue authority, then in effect. If a par is so
          required to deduct or withhold, then that part ("X") wil:-


                   (I) promptly notify the other part ("Y") of such requirement;


                   (2) pay to the relevant authoritics the full amount required to be deducted or withht:lù
                   (including the full amount required to be deducted or withheld from any additional amount paid by
                   X to Y under this Section 2(d)) promptly upon the earlier of determining that such deduction or
                   withholding is required or receiving notice that such amount has been assessed against Y;

                   (3) promptly forward to Y an official receipt (or a certified copy), or other documentation
                   reasonably acceptable to Y, evidencing such payment to such authorities; and




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                      (4) if such Tax is an Indemnifiable Tax, pay to Y, in addition to the payment to which Y is
                      otherwise entitled under this Agreement, such additional amount as is necessar to ensure that the
                      net amount actully received by Y (free and clear of Indemnfiable Taxes, whether assessed against
                      X or Y) wil equal the full amount Y would have received had no such deduction or witholding
                      been required. However, X wil not be required to pay any additional amount to Y to the extent that
                      it would not be required to be paid but for:-


                                  (A) the failure by Y to comply with or perform any agreement contained in
                                  Section 4(a)(i), 4(a)(iii) or 4(d); or
                                   (B) the failure of a representation made by Y pursuant to Section 3(t) to be accurate
                                   and tre unless such failure would not have occured but for (I) any action taen by a
                                   taing authority, or brought in a cour of competent jurisdiction, after a Transaction is
                                   entered into (regardless of whether such action is taken or brought with respect to a par
                                   to this Agreement) or (II) a Change in Tax Law.

           (ii) Liability. If:-

                         (I) X is required by any applicable law, as modified by the practice of any relevant
                         govemmental revenue authority, to make any deduction or witholding in respect of
                                                                                                                      which X would
                         not be required to pay an additional amount to Y under Section 2( d)(i)( 4);

                         (2) X does not so deduct or withhold; and


                         (3) a liability resulting from such Tax is assessed directly against X,

           then, except to the extent Y has satisfied or then satisfies the liability resulting from such Tax, Y wil
           promptly pay to X the amount of such liability (including any related liability for interest, but including any
           related liability for penalties only if Y has failed to comply with or perform any agreement contained in
           Section 4(a)(i), 4(a)(iii) or 4(d)).

3. Representations
                                                                                                                       specified in the
Each par makes the representations contained in Sections 3(a), 3(b), 3(c), 3(d), 3(e) and 3(t) and, if

Schedule as applying, 3(g) to the other part (which representations wil be deemed to be repeated by each part on
each date on which a Transaction is entered into and, in the case of the representations in Section 3(t), at all iiiIl:S
until the termination of this Agreement). If any "Additional Representation" is specified in the Schedule or any
Confirmation as applying, the par or paries specified for such Additional Representation wil make and, if
applicable, be deemed to repeat such Additional Representation at the time or times specified for such Additional
Representation.

(a) Basic Representations.

            (i) Status. It is duly organised and validly existing under the laws of the jursdiction of its organisation
            or incorporation and, if relevant under such laws, in good stading;

            (ii) Powers. It has the power to execute this Agreement and any other documentation relating to this
            Agreement to which it is a part, to deliver this Agreement and any other documentation relating to this
            Agreement that it is required by this Agreement to deliver and to perform its obligations under this
            Agreement and any obligations it has under any Credit Support Document to which it is a part and has
            taken all necessar action to authorise such execution, delivery and performance;




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             (iii) No Violation or Conflict Such execution, delivery and pedormance do not violate or conflct with
                 any law applicable to it, any provision of its constitutional documents, any order or judgment of any cour or
                 other agency of goverent applicable to it or any of its assets or any contrtul restrction bindig on or
                 affecting it or any of its assets;

             (iv) Consents. All governmental and other consents that are required to have been obtained by it with
                 respect to ths Agreement or any Credit Support Document to which it is a par have been obtained and are
                 in full force and effect and all conditions of any such consents have been complied with; and

             (v) Obligations Binding. Its obligations under this Agreement and any Credit Support Document to
                 which it is a par constitute its legal, valid and binding obligations, enforceable in accordance with their
                 respective term (subject to applicable banptcy, reorgansation, inolvency, moratorium or simlar laws
                 affectig creditors' rights generally and subject, as to enforceability, to equitable priciples of general
                 application (regardless of   whether enforcement is sought in a proceeding in equity or at law)).

(b) Absence of Certain Events. No Event of Default or Potential Event of Default or, to its knowledge,
Termination Event with respect to it has occurred and is continuing and no such event or circumstance would occur
as a result of its entering into or performing its obligations under this Agreement or any Credit Support Document to
which it is a par.
(c) Absence of Litigation. There is not pending or, to its knowledge, threatened against it, any of its Credit
Support Providers or any of its applicable Specified Entities any action, suit or proceeding at law or in equity or
before any court, tribunal, governental body, agency or offcial or any arbitrator that is likely to affect the legality,
validity or enforceability against it of this Agreement or any Credit Support Document to which it is a part or its
ability to perform its obligations under this Agreement or such Credit Support Document.

(d) Accuracy of Specifed Information. All applicable information that is fuished in writing by or on behalf
of it to the other par and is identified for the purpose of this Section 3( d) in the Schedule is, as of the date of the
information, tre, accurate and complete in every material respect.

(e) Payer Tax Representation. Each representation specified in the Schedule as being made by it for the
purpose ofthis Section 3(e) is accurate and tre.

(t) Payee Tax Representations. Each representation specified in the Schedule as being made by it for the
purpose of      this Section 3(t) is accurate and tre.

(g) No Agency. It is ent~ring into this Agreement, including each Transaction, as principal and not as agent of
any person or entity.

4. Agreements

Each part agrees with the other that, so long as either part has or may have any obligation under this Agreement or
under any Credit Support Document to which it is a part:-


 (a) Furnish Specifed Information. It wil deliver to the other par or, in certin cases under clause (iii)
              below, to such governent or taxing authority as the other part reasonably directs:-

              (i) any forms, documents or certificates relating to taxation specified in the Schedule or any
              Confirmation;

              (ii) any other documents specified in the Schedule or any Confirmation; and




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           (iii) upon reasonable demand by such other par, any form or document that may be required or
           reasonably requested in writing in order to allow such other par or its Credit Support Provider to make a
           payment under this Agreement or any applicable Credit Support Document without any deduction or
           witholding for or on account of any Tax or with such deduction or witholding at a reduced rate (so long as
           the completion, execution or submission of such form or document would not materially prejudice the legal
           or commercial position of the par in receipt of such dcmand), with any such form or document to be
           accurate and completed in a maner reasonably satisfactory to such other part and to be executed and to
           be delivered with any reasonably required certification,
in each case by the date specified in the Schedule or such Confiration or, if none is specified, as soon as reasonably
practicable.

(b) Maintain Authorisations. It wil use all reasonable effort to maintain in full force and effect all consents of
any governmental or other authority that are required to be obtained by it with respect to this Agreement or any
Credit Support Document to which it is a part and wil use all reasonable efforts to obtain any that may become
necessar in the future.

(c) Comply With Laws. It wil comply in all material respects with all applicable laws and orders to which it
may be subject if failure so to comply would materially impair its ability to perform its obligations under this
Agreement or any Credit Support Document to which it is a part.

(d) Tax Agreement. It wil give notice of any failure of a representation made by it under Section 3(t) to be
accurate and tre promptly upon learning of such failure.

(e) Payment of Stamp Tax Subject to Section Ii, it wil pay any Stamp Tax levied or imposed upon it or in
respect of its execution or performance of this Agreement by a jurisdiction in which it is incorporated, organised,
managed and controlled or considered to have its seat, or where an Offce through which it is acting for the purpose
of this Agreement is located ("Stamp Tax Jurisdiction"), and wil indemnify the other par against any Stamp Tax
                                                    the other part's execution or pedormance of
                                                                                                  this Agreement
levied or imposed upon the other part or in respect of

by any such Stamp Tax Jurisdiction which is not also a Stamp Tax Jurisdiction with respect to the other part.
 5. Events of Default and Termination Events


 (a) Events of Default. The occurrence at any time with respect to a part or, if applicable, any Credit Support
 Provider of such part or any Specified Entity of such par of any of the following events constitutes (subject to
                                                                       Default") with respect to such part:-
 Sections 5(c) and 6(e)(iv)) an event of default (an "Event of


             (i) Failure to Payor Deliver. Failure by the part to make, when due, any payment under this
             Agreement or delivery under Section 2(a)(i) or 9(h)(i)(2) or (4) required to be made by it if such failure is
             not remedied on or before the first Local Business Day in the case of any such payment or the first Local
             Delivery Day in the case of any such delivery after, in each case, notice of such failure is given to the par;

             (ii) Breach of Agreement; Repudiation of Agreement.

                         (I) Failure by thc part to comply with or perform any agreement or ohligation (other than
                         an obligation to make any payment under this Agreement or delivery under Section 2(a)(i) or
                         9(h)(i)(2) or (4) or to give notice of a Termination Event or any agreement or obligation under
                         Section 4(a)(i), 4(a)(iii) or 4(d)) to be complied with or performed by the part in accordance with
                         this Agreement if such failure is not remedied within 30 days after notice of such failure is given
                         to the part; or

                          (2) the par disaffirms, disclaims, repudiates or rejects, in whole or in par, or challenges the
                          validity of, this Master Agreement, any Confirmation executed and delivered by that par or any



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        Transaction evidenced by such a Confiration (or such action is taen by any person or entity
        appointed or empowered to operate it or act on its behalf);

(iii) Credit Support Default.


        (I) Failure by the par or any Credit Support Provider of such par to comply with or
        pedorm any agreement or obligation to be complied with or pedormed by it in accordance with any
        Credit Support Document if such failure is contiuing after any applicable grace period has elapsed;

        (2) the expiration or termation of such Credit Support Document or the failing or ceasing of
        such Credit Support Document, or any security interest granted by such part or such Credit
        Support Provider to the other part pursuant to any such Credit Support Document, to be in full
        force and effect for the purose of this Agreement (in each case other than in accordance with its
        terms) prior to the satisfaction of all obligations of such par under each Transaction to which such
        Credit Support Document relates without the written consent of the other part; or

        (3) the part or such Credit Support Provider disaffirm, disclaims, repudiates or rejects, in
        whole or in par, or challenges the validity of, such Credit Support Document (or such action is
        taken by any person or entity appointed or empowered to operate it or act on its behalf);

        (iv) Misrepresentation. A representation (other than a representation under Section 3(e) or
        3(f)) made or repeated or deemed to have been made or repeated by the part or any Credit
        Support Provider of such par in this Agreement or any Credit Support Document proves to have
        been incorrect or misleading in any material respect when made or repeated or deemed to have
        been made or repeated;

(v) Default Under Specifed Transaction. The par, any Credit Support Provider of such par or any
applicable Specified Entity of such part:-


        (I) defaults (other than by failing to make a delivery) under a Specified Transaction or any
        credit support arrangement relating to a Specified Transaction and, after giving effect to any
        applicable notice requirement or grace period, such default results in a liquidation of, an
        acceleration of obligations under, or an early termination of, that Specified Transaction;

        (2) defaults, after giving effect to any applicable notice requirement or grace period, in making
        any payment due on the last payment or exchange date of, or any payment on early termination of, a
        Specified Transaction (or, ifthere is no applicable notice requirement or grace period, such default
        continues for at least one Local Business Day);

        (3) defaults in makng any delivery due under (including any delivery due on the last delivery
        or exchange date of) a Specified Transaction or any credit support arrangement relating to a
        Specified Transaction and, after giving effect to any applicable notice requirement or grace period,
        such default results in a liquidation of, an acceleration of obligations under, or an early termination
        of, all transactions outstading under the documentation applicable to that Specified Transaction; or

        (4) disaffrms, disclaims, repudiates or rejects, in whole or in part, or challenges the validity
        of, a Specified Transaction or any credit support arangement relating to a Specified Transaction
        that is, in either case, confirmed or evidenced by a document or other confirg evidence executed
        and delivered by that par, Credit Support Provider or Specified Entity (or such action is taen by
        any person or entity appointed or empowered to operate it or act on its behalf);




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(vi) Cross-Default. If "Cross-Default" is specified in the Schedule as applying to the par, the
occurence or existence of:-

        (I) a default, event of default or other similar condition or event (however described) in
        respect of such par, any Credit Support Provider of such par or any applicable Specified Entity
        of such par under one or more agreements or instrments relating to Specified Indebtedness of
        any of them (individually or collectively) where the aggregate pricipal amount of such agreements
        or instrments, either alone or together with the amount, if any, referred to in clause (2) below, is
        not less than the applicable Theshold Amount (as specified in the Schedule) which has resulted in
        such Specified Indebtedness becoming, or becoming capable at such time of being declared, due
        and payable under such agreements or instrments before it would otherwise have been due and
        payable; or


        (2) a default by such par, such Credit Support Provider or such Specified Entity
        (individually or collectively) in makng one or more payments under such agreements or
        instrments on the due date for payment (after giving effect to any applicable notice requirement or
        grace period) in an aggregate amount, either alone or together with the amount, if any, referred to in
        clause (1) above, of not less than the applicable Theshold Amount;

(vii) Bankruptcy. The part, any Credit Support Provider of such part or any applicable Specified
Entity of such part:-

        (I) is dissolved (other than pursuat to a consolidation, amalgamation or merger); (2) becomes
        insolvent or is unable to pay its debts or fails or admits in writing its inability generally to pay its
        debts as they become due; (3) makes a general assignent, arangement or composition with or for
        the benefit of its creditors; (4)(A) institutes or has instituted against it, by a regulator, supervisor or
        any similar offcial with primary insolvency, rehabilitative or regulatory jurisdiction over it in the
        jurisdiction of its incorporation or organisation or the jurisdiction of its head or home offce, a
        proceeding seeking a judgment of insolvency or bankptcy or any other relief under any
        bankptcy or insolvency law or other similar law affecting creditors' rights, or a petition is
        presented for its winding-up or liquidation by it or such regulator, supervisor or similar official, or
        (B) has instituted against it a proceeding seeking a judgment of insolvency or bankrptcy or any
        other relief   under any bankrptcy or insolvency law or other similar law affecting creditors' rights,
         or a petition is presented for its winding-up or liquidation, and such proceeding or petition is
         instituted or presented by a person or entity not described in clause (A) above and either (I) results
         in a judgment of insolvency or bankptcy or the entr of an order for relief or the making of an
         order for its winding-up or liquidation or (II) is not dismissed, dischargt:u, stayed or restrained in
         each case within 15 days of  the institution or presentation thereof; (5) has a resolution passed for its
         winding-up, official management or liquidation (other than pursuant to a consolidation,
         amalgamation or merger); (6) seeks or becomes subject to the appointment of an administrator,
         provisional liquidator, conservator, receiver, trstee, custodian or other similar official for it or for
         all or substatially all its assets; (7) has a secured par tae possession of all or substatially all its
         assets or has a distress, execution, attchment, sequestration or other legal process levied, enforced
         or sued on or against all or substantially all its assets and such secured part maintains possession,
         or any such process is not dismissed, discharged, stayed or restrained, in each case within 15 days
         thereafter; (8) causes or is subject to any event with respect to it which, under the applicable laws of
         any jurisdiction, has an analogous effect to any of    the events specified in clauses (I) to (7) above
         (inclusive); or (9) taes any action in fuerance of, or indicating its consent to, approval of, or
         acquiescence in, any of the foregoing acts; or




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        (viii) Merger Without Assumption. The par or any Credit Support Provider of such par consolidates
        or amalgamates with, or merges with or into, or transfers all or substatially all its assets to, or reorganises,
        reincorporates or reconstitutes into or as, another entity and, at the time of such consolidation,
        amalgamation, merger, transfer, reorganisation, reincorporation or reconstitution:-


                    (1) the resulting, suriving or transferee entity fails to assume all the obligations of such par
                    or such Credit Support Provider under this Agreement or any Credit Support Document to which it
                    or its predecessor was a part; or

                    (2) the benefits of any Credit Support Document fail to extend (without the consent of the
                    other par) to the performance by such resulting, suriving or transferee entity of its obligations
                    under this Agreement.

(b) Termination Events. The occurrence at any time with respect to a par or, if applicable, any Credit
Support Provider of such par or any Specified Entity of such par of any event specified below constitutes (subject
to Section 5(c)) an Ilegality if the event is specified in clause (i) below, a Force Majeure Event if the event is
specified in clause (ii) below, a Tax Event if the event is specified in clause (ii) below, a Tax Event Upon Merger if
the event is specified in clause (iv) below, and, if specified to be applicable, a Credit Event Upon Merger if the event
is specified pursuant to clause (v) below or an Additional Termination Event if the event is specified pursuant to
clause (vi) below:-

         (i) Ilegality. After giving effect to any applicable provision, disruption fallback or remedy specified
         in, or pursuant to, the relevant Confirmation or elsewhere in this Agreement, due to an event or circumstance
         (other than any action taken by a part or, if applicable, any Credit Support Provider of such par)
         occuring after a Transaction is entered into, it becomes unlawful under any applicable law (including
         without limitation the laws of any country in which payment, delivery or compliance is required by either
                                                                                                      the relevant
         par or any Credit Support Provider, as the case may be), on any day, or it would be unlawful if
         payment, delivery or compliance were required on that day (in each case, other than as a result of a breach
         by the par of       Section 4(b)):-


                     (I) for the Office though which such par (which wil be the Affected Par) makes and
                     receives payments or deliveries with respect to such Transaction to perform any absolute or
                     contingent obligation to make a payment or delivery in respect of such Transaction, to receive a
                     payment or delivery in respect of such Transaction or to comply with any other material provision
                     ofthis Agreement relating to such Transaction; or

                     (2) for such par or any Credit Support Provider of such par (which wil be the Affected
                     Part) to perform any absolute or contingent obligation to make a payment or delivery which such
                     par or Credit Support Provider has under any Credit Support Document relating to such
                     Transaction, to receive a payment or delivery under such Credit Support Document or to comply
                     with any other material provision of such Credit Support Document;

         (ii) Force Majeure Event. After giving effect to any applicable provision, disruption fallback or
         remedy specified in, or pursuant to, the relevant Confirmation or elsewhere in this Agreement, by reason of
         force majeure or act of state occurring after a Transaction is entered into, on any day:-
                     (I) the Offce though which such par (which wil be the Affected Par) makes and receives
                     payments or deliveries with respect to such Transaction is prevented from performing any absolute
                     or contigent obligation to make a payment or delivery in respect of such Transaction, from
                     receiving a payment or delivery in respect of such Transaction or from complying with any other
                     material provision of this Agreement relating to such Transaction (or would be so prevented if such
                     payment, delivery or compliance were required on that day), or it becomes impossible or




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           impracticable for such Offce so to pedorm, receive or comply (or it would be impossible or
           impracticable for such Offce so to pedorm, receive or comply if such payment, delivery or
           compliance were required on that day); or

           (2) such par or any Credit Support Provider of such par (which wil be the Afected Par)
           is prevented from pedormg any absolute or contigent obligation to make a payment or delivery
           which such par or Credit Support Provider has under any Credit Support Document relating to
           such Transaction, from receiving a payment or delivery under such Credit Support Document or
           from complying with any other material provision of such Credit Support Document (or would be
           so' prevented if such payment, delivery or compliance were required on that day), or it becomes
           impossible or impracticable for such part or Credit Support Provider so to perform, receive or
           comply (or it would be impossible or impracticable for such part or Credit Support Provider so to
           perform, receive or comply if such payment, delivery or compliance were required on that day),

so long as the force majeure or act of state is beyond the control of such Offce, such par or such Credit
Support Provider, as appropriate, and such Offce, par or Credit Support Provider could not, after using all
reasonable effort (which wil not require such par or Credit Support Provider to incur a loss, other than
immaterial, incidental expenses), overcome such prevention, impossibility or impracticabilty;

(iii) Tax Event. Due to (I) any action taken by a taxing authority, or brought in a court of competent
jurisdiction, after a Transaction is entered into (regardless of whether such action is taken or brought with
respect to a part to this Agreement) or (2) a Change in Tax Law, the part (which wil be the Affected
Par) wil, or there is a substantial        likelihood that it wil, on the next succeeding Scheduled Settlement Date
(A) be required to pay to the other par an additional amount in respect of an Indemnifiable Tax under
                                      interest under Section 9(h)) or (B) receive a payment from which an
Section 2(d)(i)(4) (except in respect of

amount is required to be deducted or witheld for or on account of a Tax (except in respect of interest under
Section 9(h)) and no additional amount is required to be paid in respect of such Tax under Section 2( d)(i)( 4)
(other than by reason of Section 2( d)(i)( 4)(A) or (B));

(iv) Tax Event Upon Merger. The part (the "Burdened Part") on the next succeeding Scheduled
Settlement Date wil either (1) be required to pay an additional amount in respect of an Indemnifiable Tax
under Section 2(d)(i)(4) (except in respect of interest under Section 9(h)) or (2) receive a payment from
which an amount has been deducted or withheld for or on account of any Tax in respect of which the other
part is not required to pay an additional amount (other than by reason of Section 2(d)(i)(4)(A) or (B)), in
either case as a result of a par consolidating or amalgamating with, or merging with or into, or transferring
all or substatially all its assets (or any substatial par of the assets comprising the business conducted by it
as of the date of this Master Agreement) to, or reorganising, reincorporating or reconstituting into or as,
another entity (which wil be the Affected Part) where such action does not constitute a Merger Without
Assumption;

(v) Credit Event Upon Merger. If "Credit Event Upon Merger" is specified in the Schedule as
applying to the part, a Designated Event (as defined below) occurs with respect to such par, any Credit
Support Provider of such part or any applicable Specified Entity of such part (in each case, "X") and such
Designated Event does not constitute a Merger Without Assumption, and the creditworthiness of X or, if
applicable, the successor, suriving or transferee entity of X, after taking into account any applicable Credit
Support Document, is materially weaker immediately after the occurrence of such Designated Event than
that of X immediately prior to the occurrence of such Designated Event (and, in any such event, such part
or its successor, surviving or transferee entity, as appropriate, wil be the Affected Part). A "Designated
Event" with respect to X means that:-

            (I) X consolidates or amalgamates with, or merges with or into, or transfers all or substatially
            all its assets (or any substatial par of the assets comprising the business conducted by X as of the




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